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EXHIBIT W
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&

 

@ UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
ERIC EDWARDS, Individually
and on Behalf of All Other
Persons Similarly Situated,
Plaintiffs,

vs. No. ECF 2008
Civ: 3134 (DLC)

THE DEPARTMENT OF CORRECTIONS
OF THE CITY OF NEW YORK and
THE CITY OF NEW YORK,

Defendants.

January 15, 2009
9:46 a.m.

@ Deposition of PETER PANAGI, held at
the Law Office of William Coudert Rand,
711 Third Avenue, New York, New York,
pursuant to Notice, before Theresa
Tramondo, a Notary Public of the State of

New York.

David Feldman
Worldwid e Fram file to Trial l®

  

 

 

 

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26 28
L Panag 1 Panagi
2 A. Vierno, V-I-E-R-N-O. 2 administration, same duties as before.
3 Q. What is the George R. Vierno 3 Q. Can you describe those duties in
4 Center? 4 more specificity?
sy A. It's an adult maximum security 5 A. Overseeing personnel matters,
6 detention facility on Rikers Island. 6 discipline, food service, day-to-day food
7 Q. What was your title there? 7 ~~ service operation, maintenance and the
8 A. Deputy warden of prograins. 8 completion of work within the facility, which
9 Q. What did your responsibilities 9 includes repairs, as well as renovation,
AO entail? nO fabrication of different items in the
HL A. Overseeing inmate programs and i facility.
12 services. 2 Q. Were you responsible for payroll?
1.3 Q. How long did you have that job? tm) A. Yes.
4 A. About two years. 4 Q. Were you responsible for keeping
ie) Q. What was your next job? H.5 track of the hours worked by the correction
nh 6 A. 1 subsequently took a leave of 16 officers?
1? absence just for the record. 1.7 A. Yes, all of that is under
1. 8 Q. Where did you go when you took your 18 personnel.
19 leave of absence? 9 Q. How long did you work as the deputy
i A. No. Thad a personal matter. | 20 warden of administration at the Otis Bantum
1 fook a leave of absence for about 20 months, 21 facility?
D2 Q. What was the persona! matter? B2 A. About one month.
Rp 3 A, My son. 23 Q. Why did you work there for s.ich a
R4 Q. What occurred with your son? R4 short period?
p5 A. He was diagnosed with diabetes at 25 A. requested a promotion. Teletype
27 29
1 Panagi 1 Panagi
2 the age of one. 2 announced a vacancy at Bellevue Hospital
3 Q. Did you take a leave of absence to 3 prison ward for a deputy warden in command.
4 try to help treat your son? 4 It was a promotion. I submitted for
5 A. Yes. 5S consideration and I was awarded the position.
6 Q. When did you return as a correction 6 Q. What was your next title?
7 officer -- not as a correction officer, but 7 A. Deputy warden in command at
8 did you retum to the Department of 8 Bellevue Hospital prison ward.
9 Corrections? 9 Q. “In command” is part of the title?
2 0 A. Yes. HO A. Yes.
. 1 @. When did you return? H 1 Q. Deputy warden?
2 A. November 2004. 3 A. It designates commanding officer.
&) Q. During the period you took a leave 3 Q. Deputy warden in command at
14 of absence, did you work any jobs? 4 Bellevue Hospital?
i) A. No. nS A. Bellevue Hospital prison ward.
L6 Q. When you returned in November of — [L6 Q. Prison ward.
.7 2004, what was your title? 7 What were your responsibilities as
8 A. Deputy warden. 18 deputy in command at the Bellevue Hospital
19 Q. Where did you work? 19 prison ward?
ay A. At the Otis Bantum Correction 20 A. Overseeing everything, everyzhing,
P1  =s Center. 21 personnel, security, maintenance.
P 2 Q. And what were your responsibilities 2 Q. Did your job entail --
P3 as deputy warden at the Otis Bantum 23 A. Also—Lam sorry. I also wanted
P4 Correction facility? 24 to add to that liaison also with hospital
DS A. Iwas deputy warden of 25 staff, addressing medical and psychiatric
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8 (Pages 26 to 29)

 

 
 

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48 40
1 Panagt L Panagi
2 A. Yes. 2 ©. Esee, the facility is bigger than
3 Q. De the correction officers that are 3 the housing unit?
4 in administration have the same shifts as the 4 A. Exactly.
2 correction officers that are supervising the 5 Q. So the facility includes the
6 Inmates’? 6 — administrative area and --
7 A. They may not. Phey may not. 7 A. When you say “housing unit," Fam
a Q. Generally do the correction 8 taking that to mean one housing area of a --
9 officers guarding the inmates have the same a @. No problem. We are just getting a
LO shifts’? LO max up.
Ht A. In the housing areas? tt 1. A. Soa facility may have 10 housing
2 QO. Yes. 2 units, 20, et cetera.
3 A. Generally, yes. L3 Q. What is the shift schedule for
1 4 ©, What are those shifts? 14 administrative correction officers at the
ime) A. 7:00 to 3:00, 3:00 to 1:00 and i5 facilities’?
L6 11:00 to 7:00. (1.6 A. You're talking about the officers
LF Q. 7 o'clock to 3 o'clock? iL? = that do not work with the inmates, that work
8 A. Right. (18 in administrative areas?
3 ©. Then’? 1.9 ©. Right.
EO A. 3:00 to 11:00 and 11:00 to 7:00. 0 A. That varies. It could be almost
PL Q. When you said there are 21 anything. It's ~ there is considerable
R2 administrative correction officers in the 2 variation in the facilities, but mostly — it
P3 housing untts, what are their shifts? 3 covers mostly very early tours through the
pa A. Not in the housing units. 24 Jate afternoon, mostly. So, in other words,
eS Correction officers working in the facility. 25 if you were to go into a facility at
39 4a
1 Panagi 1 Panagi
2 Q. Fused "housing units." There are 2 9 o'clock at night, you wouldn't find the
3. ten facilities which house prisoners? 3 personnel office open, but you would find the
4 A. Yes. 4 security office open.
5 Q. When you interpreted me using 5 ©. Soit's going to be closer to 9:00
6 "housing units," what did you think I was 6 to 5:00, if they're doing work, they could be
7 referring to then? 7 done at any time?
8B A. You were saying administrative 3 A. If you're doing the schedule, you
2 correction officers working in housing unit. 9 may work 5 o'clock in the morning until 1:00
HO ©. Well, you had said of the people RO or early hours like that, but there is a
Pi working in these ten factlities -- Lt considerable variation.
2 A. Right. iL2 Q. Does uniform alse require that the
im Q, -- anumber of them were i3 correction officer have a can of teargas?
14 adimimstration people that did not have i 4 A. If they're qualified to use
HS contact -- iS handheld GC and they're working in an area
LLG A. But they worked in the (L6 supervising inmates that does not prohibit
i? administration area. They don't workinthe {17 — such use, then they can — should check out
18 housing unit. 18 handheld OC from the control room.
Lo Q. Well, then, they're not working in 9 QO. Are the correction officers who
PO the facility? -O supervise inmates at the ten facilities at
1 A. Yes, they are. 1 Rikers Island required to have OC on their
D2 Q. In other words, the facility? 22 belts?
BS A. Yes, they are. In other words, the eS A. I think I just answered that, but
4 facility is — the layout of the facility 24 if they're qualified to use it and they're
P5 is — in other words, here is the ~ 25 supervising inmates in an area that's not

 

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1i (Pages 38 to 41)

 
 

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46 4&
1 Panagi 1 Panagi
2 You said bullet resistant and it’s not. 2 Q. Has anybody suggested not requiring
3 MR. RAND: I though I said stab 3. astab/slash vest as part of the uniform?
4 resistant. 4 MR. SITARAS: Objection.
5 (Record read.) 5 Go ahead.
6 MR. RAND: | don't know where | got 6 A. Has anybody suggested that?
7 that from. It's not even on here. 7 Q. Have you ever suggested that to
8 Q. Is the stab/slash vest designed to 8 your commander.:?
9 protect the correction officers from 9 A. I never would.
20 stabbings or slashings by inmates? LO Q. Do you believe that a stab/slash
im A. Yes, but only obviously the parts 11 vest is proper equipment for a correction
12 that are covered. 12 officer supervising inmates?
13 Q. Is the stab/slash vest necessary 13 A. In my opinion, I believe better to
14 for the performance of a correction officers’ [4 be safe, you know, regardless of what --
15 duties supervising inmates? 1S Q. Because it would not be safe if you
L 6 MR. SITARAS: Objection. 26 donot have a stab/slash vest and you were
17 Go ahead. .‘? supervising inmates; is that correct?
18 THE WITNESS: Do you want me to L8 MR. SITARAS: Objection.
1g answer that? 19 Go ahead.
ae) MR. SITARAS: Yes, you can still pO A. It would not be safe? I don't know
Pi answer. It's for the record. b1 if F would say that.
D2 A. No. Ba Q. You said it would be better to be
a) Q. Why is it not necessary? b3 safe, correct?
p 4 A. Because they can perform their p 4, A. Well, I believe it's better to be
P5 duties without it. 25 safe; however, the facts are the facts. The
47 49
1 Panagi 1 Panagi
2 Q. Would it be dangerous for them to 2 jails are not violent, and I can't remember
3. pertorm their duties -- 3. an officer getting stabbed recent memories,
4 Would it be dangerous for 4 Q. Have you ‘hecked the records to see
5 correction officers to supervise inmates 5 if any officers have been stabbed in the last
6 without wearing a stab/slash vest? 6 year?
7 A. For me to answer that question 7 A. I don't believe any were.
8 today, I would have to refer to the violence 8 Q. If you just listen to the question.
9 indicators. I would say probably not. 9 Have you checked the records?
LO Q. Have you referred to the violence 1 O A. Have I checked the records? I
1 indicators? 11 don't have access to some of those records.
2 A. Sure. 1 2 Q. If the answer is no, the answer is
h 3 Q. What violence indicators have you 13 no. Iam asking you if you looked at actual
i" referred? 4 records. If you have, you have; if you
5 A. For example, this past year, 2008, fe haven't, you haven't.
6 the Department has had 19 stabbings and 6 A. Yes, I have looked at actual
1?  slashings between and among inmates solely. 7 records.
18 That's in every facility. So that's an 8 Q. What actual records have you looked
i9 all-time historic low. So the number of 19 = at?
PO weapons that we uncover these days are very, [0 A. The 24-Hour report, which is
Pl. very few and far between. And the numberof 21 available to me and every other manager.
22 violent incidents involving weapons are very, 22 Q. What is the 24-Hour report?
23 very few compared to many years when it was 23 A. It's the unusual incident reporting
R4 very, very common and the jails were very 24 mechanism, so anytime a serious incident
RS violent. B5 occurs, it is broadcast to all managers.

 

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13 (Pages 46 to 49)

 
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58 60
1 Panagi i Panagi
2 Q. Approximutely how many inmates have 2 A. 911 knife, it's a hooked blade
3 tuberculosis? 3 that's designed to cut down someone who may ©
4 MR. SITARAS: Objection. 4 be hanging up. It's primarily for suicide
5 A. Active tuberculosis? 5 attempts.
6 Q. Yes. 6 Q. Does it have any other purposes?
7 A. Very few, small percentage. 7 A. No.
8 {). Would it be more than ten? 8 Q. Has a 911 knife ever been used for
9 A. I don't know. 9 any other purposes?
nd MR. SITARAS: Objection again. 0.0 A. Not that I know of.
1 Q. But you do know that some inmates me Q. Are you familiar with the written
2 have at times -- during the last six years 2 directives, trainings and orders relating to
3 had active tuberculosis? 3 uniforms?
4 MR. SITARAS: Objection. 4 A. Yes.
ny A. Yes. hs Q. Is it required that a correctior:
iL 6 Q. Are you aware of any other diseases L6 officer wear only his uniform and not mix his
i? that the latex gloves might protect -- | am 1?  unifonn with civil clothing?
18 sorry. 8 A. That's pretty much true.
9 Are you aware of any other diseases i 9 Q. When you say "pretty much," are
RO that the inmates have at Rikers Island? 20 there exceptions?
2 I. MR. SITARAS: Objection. 21 A. That's pretty much true when we're
D2 Go ahead. 22 speaking about on duty wearing of the
3 This covers prisoner privacy rights 23 uniform.
D4 and certain HIPAA-protected issues. That 24 Q. And what is true about off duty
PS is why Lam shghtly concerned. We're 5 wearing of uniform?
59 61
1 Panagi 1 Panagi ©
2 not discussing about any specific 2 A. Well, off duty someone may be going
3 inmates, [ know. Also, it's not part of 3 home. They may be wearing a coat over their
4 the scope of the 30(b)(6) witness, A, to 4 uniform.
5 testify about the, I'd say, medical 5 Q. Can they wear whatever they want
6 makeup of the prison population. & off duty?
7 Q. You can answer the question. 7 A. Can they wear whatever they want?
8 A. I don't know. 8 Q. Yes.
9 Q. What is the purpose of the 9 A. You mean mixing with a uniform?
nO flashlight element of the uniform? i O Q. Yes.
1 A. Tobe used when visibility is ft 4 A. It's not an issue.
12 = difficult and dark conditions. 2 Q. The answer is yes, you can wear
N3 Q. When would that be? 3 whatever you want?
14 A. Mostly during an evening tour, _ 4 A. I don't know [ would go that far.
15 midnight tour, but could even be during the (15 1 don’t know what that means.
16 day when you're searching underneath L6 Q. Are there regulations regarding the
7? something where it may be dark, 7 wearing of uniforms during offduty periods?
18 Q. Is it required to properly perform i 8 A. That question is somewhat different
19 the duties of a correction officer? 19 than what you're asking.
DO A. Tamsorry. J don't understand. RO Q. [am asking a new question.
P 1 Q. Isa flashlight required to 21 A. Are there regulations?
b2 properly perform the duties of a correction Ra Q. Yes.
P3 officer? D3 A. Well ~
p4 A. It is required equipment, yes. 24 Q. Written regulations?
R5 Q. What is the 911 knife for? 25 A. The only regulation that I can

 

 

 

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66 68

z Panagi 1 Panagi

2 earlier, it would be, let's say, 0700 hours, 2 A. Every facility maintains their own

3-7 o'clock in the morning, the correction 3 records.

4 officer would be reporting to roll call in 4 Q. At the end of each year, are the

5 uniform, where a supervisor would inspect his {5 — records delivered anywhere for storage?

6  aniform and announcements would be made 6 MR. SITARAS: Objection.

7 regarding events that may have transpired at 7 Go ahead.

8 the facility or department announcements 8 A. I don't know.

9 would be made and then assignment issues. 9 Q. Do you know if they're kept at (he
10 Q. Now, you said he's in uniform; does LO facilities?
11 he have his full uniform on when he reports nd A. To my knowledge, they're kept at
h2 to roll call’? 2 the facilities.
n 3 A. He reports in duty uniform. 13) RQ MR. RAND: I would call for
14 Q. Does he already have his canister 14 protection of sign-in/sign-out sheets for
15 af OC when he reports? LS all of the correction officers.
16 A. No. 1.6 MR. SITARAS: [am going to subject
h7 Q. He's not in his full uniform? 7 that to the limitation of what is the
hs A. He's in his full uniform. The OC LS opt-in periods over. Obviously, we've
n9 is a piece of equipment that is issued based 9 produced those for the individuals that
20 on your assignment. 2 0 opted in as plaintiffs.
D4 Q. Do correction officers sign in when P 1 MR. RAND: Your objection is noted.
22 they start their tour? p 2 Q. They sign in immediately _pon

3 AL Yes. 23 arriving for their shift. Do correction
24 Q. Where do they sign in? R4 officers have lockers?
BS A. There's an employee sign-in area. po A. Yes, they do.

67 69

1 Panagi 1 Panagi

2 Q. In each facility? 2 Q. Do they then change into their

3 A. Yes. 3 unifonn at their locker?

4 Q. And do they sign in immediately 4 A. Many do.

5 upon arriving at the facility? 5 Q. Are there showers there?

6 A. They're required to sign in at the 6 A. Usually.

7 exact time of their arrival, 7 Q. Do correction officers gencrally

8 Q. Do they sign out at the end of the 8 take showers there?

9 day? 9 A, No.
10 A. Yes, they do. 1 Q Q. Do correction officers generally
hd Q. Are these sign-in/sign-out books 21 change in their uniform before appearing at
2 kept in the ordinary course of business by L2 rol] call in the changing room?
13 = Rikers Island? 13 A. Yes.
h 4 A. Yes. 14 Q. What percentage of officers do not
HS Q. How many years back are these kept? £5 change into their uniforms in the changing
b 6 A. I don't know. 16 room approximately?
7 Q. Do you believe that Rikers Island 17 MR. SITARAS: Objection.
13 holds sign-in/sign-out sheets for the last Lg Go ahead.
19 six years? Lg A. [couldn't say.
PO MR. SITARAS: Objection. PO Q. 1s it general practice fora
D1 If you know. p1 correction officers to change into their
bp 2 A. I don't know. 22 uniforms at the facilities?
D 3 Q. Do you know where the p3 A. Generally speaking, yes.
P4 — sign-in/sign-out sheets are kept at Rikers pA Q. Why is that?
PS Island? PS MR. SITARAS: Objection.

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18 (Pages 66 to 69)

 

 
 

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70 72
L Panagi i Panagi
2 IF you know. 2 drycleaning for anybody on Rikers Island?
3 A. Why would they change into their 3 A. No.
4 uniforms? 4 Q. You're absolutely positive of that
) Q. At the facility. 5 answer?
6 A. I'msure because many of them come 6 MR. SITARAS: Objection.
7 ‘in civilian attire and leave in civilian 7 Go ahead.
8 attire, 8 A. Are we referring to —
9 Q. Why do they come and vo in civilian 9 Q. If you called up a dry cleaning
HO attire? RO service and said please come dry clean my
i 2 MR. SITARAS: Objection. i shirt, 1 am an administrative officer at
i 2 Go ahead. 1.2 Rikers Island, they would not pick up your
3 A. More comfortable. They choose not 13 shirt?
h4 to wear their uniform. Hi. 4& A. Probably not. We have security
15 Q. Do you have any reason why 25 checkpoints. An advance notice would have to
16 correction officers would choose not toa wear 116 indicate who was coming, the number of the
17 — their uniform outside of the facility? H.7 vehicle and plates --
1 8 MR. SITARAS: Objection. h 8 Q. They could come to the front desk?
9 Go ahead. hg A. I don't see it happening.
20 A. [would be guessing. 2 0 Q. They sign in, you then put on
21 Q. When you were a correction officer, 21 the ~ the security guard puts on the
22 ~~ did you change at the facility? 22 wniform and then you said there was a roll
23 A. lL actually did both depending on 23 call. What occurs at the roll cal --
24 what stage of my career I was. I used to 24 The correction officer arrives for
25 come in and change on some occasions. Other £5 _ his shift?
71 73
1 Panagi 1 Panag
2 occasions, J would come in in uniform. 2 A. Right.
3 Q. What percentage of occasions did 3 Q. He signs in the book immediately,
4 you not change at the facility while you were 4 he then puts on his uniform or has his
5 acorrection officer? 5 uniform on, then he appears at the roll call.
6 A. You know, a lot depends, of course, 6 What is the rol! call?
7 on convenience, whether I thought | may be 7 A. AsI described earlier, uniform
8 delayed getting to work. There are a lot of 8 inspection, announcements and then
9 variables. So certainly we have a lot of 9 assignments.
10 officers that may be rushing to work and te) Q. What are assignments?
1 choose to wear their uniform because it's 11 A. Your posts, your duties for the
12 just so much faster. 2 day.
13 Q. Is there a cleaning service for the 1) Q. Then you said that afterwards,
4 uniform at the facility? Hh4 after the inspection of the uniform, the
5 A. Cleaning service? 5 correction officer is required to get a
Is) Q. How do you clean the uniform if you 6 canister of OC, if required for his duties?
17? keep it at the facility? 7 A. He may be required to pick up other
18 A. You take it home, dry clean it, you 18 equipment that he may needed for the day.
19 bring it back. That's the responsibility of 9 Q. What other equipment might he have
BO the staff member. 20 to pick up?
D1 Q. Is there any service, does anybody 21 A. If he or she is assigned to a
P2 get their uniform cleaned directly from the 22 hospital room, they may report to the control
P3 facility? 23 room to pick up a firearm. They might go
pA A. No. 24 back to the locker room and pick up a duty
B5 Q. Is there any service that provides 25 rig, pick up a firearm, pick up winter wear

 

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19 (Pages 70 to 73)

 
 

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78 80
1 Panagi 1 Panag
2 A. No, it's never been indicated to 2 A. No reason to.
3 me. 3 Q. Was there ever a notice posted al
4 Q. Have you ever heard anyone at any 4 Rikers Island informing correction officers
5S time discuss the concept that there may be 5 that they had a nght to overtime?
6 threatened violence against a correction 6 MR. SITARAS: Objection.
7 ~~ officer outside the facility if ex-convicts 7 If you know.
8 know that person is a correction officer? 8 A. I don't know,
9 MR. SIFARAS: Objection. 9 Q. Do you recall ever seeing a notice
LO You can go ahead and answer. LO at Rikers Island informing correction
1 A. That's a common fear. 11 officers that they had a nght to overtime
12 Q. And is it also a fear of correction 12  wayes?
13 officers that if they wear their correction 13 MR. SITAF AS: Objection.
4 — officer uniform in the community that members 14 Go ahead.
1S of the community may request special favors i A. Yes, actually I have seen notices.
16 — for their friends and relatives that nay be iL 6 Q. Where did you see the notices?
17 incarcerated? 7 A. Posted on employee bulletin boards
8 MR. SITARAS: Objection. L8 in the form of collective bargaining
9 Go ahead. 9 agreements,
ay A. I've never heard that. ay Q. Do you mean posted on the board as
D1 Q. Did you ever wear your correction B1 the small booklet that includes the
22 officer uniform in public when you were not R2 collective bargaining agreement?
b3 on your way to work or on your way back from = 2:3 A. Actually, something larger, 8 and a
P4 work? 24 half by 11.
BS MR. SITARAS: Objection. B5 Q. Did you have any separate notice
79 81
1 Panagi 1 Panagi
2 Go ahead. 2 informing correction officers of their rights
3 A. I'd have to give that some thought. 3. under federal law to obtain time and a half
4 IT don't recall. 4 or overtime?
5 Q. Have you ever gone to any 5 MR. SITARAS: Objection, objection,
6 _ relatives’ high school graduations? 6 beyond the scope of this witness.
7 A. Yes. 7 If you know, you can answer.
8 Q. And do you wear your uniform to the 8 A. Idon't know what you mean by
9 high school graduation? 9 "separate notice "
nO A. No. 10 Q. Is the only notice that you can
im Q. Have you ever gone to any weddings 11 recall regarding overtime the posting of the
n 2 while you were employed by the Department of [2 collective bargaining agreement?
3 Corrections? 13 MR. SITARAS: Objection.
4 A. Yes. 14 Go ahead.
(as) Q. Did you wear a uniform when you 1S A. Are we speaking written notice or
16 went to the weddings? 16 verbal communications?
7 A. No. L7 Q. Posted notices.
i. 8 Q. Do you recall any time that you've 18 A. That's the only thing I can recall.
19 ~~ worn the uniform when you were not on your 1.9 Q. And the posting of the collective
pe way to work or on your way home trom work? 20 bargaining agreement that you recall, was
1 A. No, 21 that posted in all facilities at Rikers
D2 Q. Is there any reason why you've P2 Island and other facilities where correction
~3 never wom your uniform outside of the P3 officers work?
B4 workplace? p 4 MR. SITARAS: Objection.
D5 MR. SITARAS: Objection. BS Go ahead.

 

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21 (Pages 78 to 81)

 
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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

ERIC EDWARDS, Individually
and on Behalf of All Other
Persons Similarly Situated,

Plaintiffs,

vs. No. ECF 2008
Civ: 3134 (DLC)

THE DEPARTMENT OF CORRECTIONS
OF THE CITY OF NEW YORK and
THE CITY OF NEW YORK,

Defendants.

December 31, 2008

ry 10:16 a.m.

Deposition of FRANK SQUILLANTE,
held at the offices of William Rand, 711
Third Avenue, Suite 1505, New York, New
York, pursuant to Notice, before Theresa
Tramondo, a Notary Public of the State of

New York.

 

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18 20
1 Squillante 1 Squillante
2 services, religious services, things of that 2 creative enough to make some type of a weapon
3 nature. 3 or ashank or a shiv with, they manufacture
4 Q. Could you deseribe to me the 4 those from time to time.
S — untform that correction officers are required 5 Q. Is the prison environment at Rikers
6 to wear? 6 Island a dangerous environment for the
7 A. Yes. They wear a uniform similar 7 officers?
8 to that of a New York City police officer a MR. SITARAS: Objection.
9 minus the firearm. 9 Go ahead.
LO Q. What does that entail? i A. Itcan be.
LY A. Blue pants, blue shirt, and various HI Q. Do you believe it's necessary that
12 equipment that goes along with it, shield, U.2 a guard wears stab/slash proof vests while
i) Q. Did they have to wear a bulletproof 1.3 guarding the inmates at Rikers Istand?
14 vest’? a A. It's a good safety feature, I
nS A. When they go outside the confines BS believe.
16 of the facility and take a prisoner to cither = 16 Q. Isa correction officer required ts
17 court or to a hospital, they carry firearms — [17 _its uniform to wear a utility belt?
18 and they wear bulletproof protective vests. [18 A. Yes.
19 Q. When these officers are guarding a9 Q. Is he required to have a utility
PQ the inmates, do they have to wear a BO belt, a pen, a whistle, a memo book, gloves,
Pl  stab-proof vest? 21 a flashlight, a duty knife and a teargas
p2 A. Yes. 2 canister?
a) Q. That's a little bit less thick; is 23 A. Everything except the gloves and
b4 that the idea? 24 the teargas canister they are expected —
B5 MR. SITARAS: Objection. 2S they are required to wear.
19 21,
1 Squillante 1 Squillante
2 Go ahead. 2 Q. Isn't it true that the regulations
3 A. It serves a different purpose. It 3 require that correction officers have a
4 protects them against sharp objects 4  teargas canister on their belt?
5  penctrating. It's different than a 5 A. Not at all times, no.
6 bulletproof vest. 6 Q. At what times?
7 Q. I guess as it states’? 7 A. Depends on their assignments within
8 A. Stab/slash vest it’s called. 8 the facility. There are areas in the
9 Q. What is the purpose of wearing the 9 facility where you absolutely cannot carry
nO — stab/slash vest? (LO teargas.
2 A. To protect them from being in Q. Could you explain to me where you
12 assaulted with sharp objects. 2 are required to have teargas?
n. 3 Q. Do some prisoners have sharp 3 A. You're required to carry it in the
h4 objects at Rikers Island? 14 housing areas and some of the congregate
nS MR. SITARAS: Objection. h5 areas?
i 6 Go ahead. 6 Q. What does "congregate areas” mean,
7 A. Yes. 7 congregation areas for open spaces?
q 8 Q. What type of sharp objects do they 18 A. Yes.
19 have? hg Q. What percentage of the correction
2 0 A. Various types, shanks, shivs. 20 officers do not - are not required to have
D1 Things that are manufactured from parts of 21 _ teargas on their belt for their job
p2 the facility that are considered contraband B2 functions?
b3 that they fabricate, sharpened toothbrushes, 23 A. It's a small percentage.
P4 broken pieces of plexi, pieces of the locker, 4 Q. Would it be less than 10 percent?
25 light fixtures. Anything that he can be 25 A. Yes.

 

6

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22 24
1 Squillante 1 Squillante
2 Q. Would it be less than 5 percent? 2 A. Yes.
3 A. It might be. 3 Q. ‘Those correction officers arrive in
4 Q. So more than 90 percent of the 4 the moming and generally change into their
5 correction officers are required to have a 5 uniforms at the Davoren Cenler?
6 canister of teargas on their utility belt as 6 A. Yes. They sign in when they enter,
7? part of their uniform, is that correct? 7 they clear the magnetometer and proceed to
8 A. I'm recalling the rules and 8 the locker room.
9 regulations from the department, and I don't 9 Q. Sign in when they enter, they clear
LO recall it requiring it to be on their person. RO the --
hi I know it's required in various facilities in i 1 A. Magnetometer.
12 different areas. I know it's not allowed to 2 Q. What is that?
1.3 = be carried in the medical infirmaries, the 3 A. That's like the airport, you have
14 clinics and in some mental observation areas 4 to go through - take everything out of your
5 where it might have an adverse effecton the [15 pockets. All the facilities have that.
6 people, the inmates in there, because they're — [16 Q. Then typically they --
i? on psychotropic medication, et cetera. 7 A. Enter the locker room area.
8 The same thing with the gloves, I ih 8 Q. Is there a locker for each
9 don't recall gloves being in the rules and 19 correction officer?
20 regulation as required equipment. 2 0 A. Yes.
- Q. When people come in in the morning, B41 Q. When they change into their
22 what is the format for putting your uniform R2 uniform --
23 on at Rikers Island? e3 They change into their uniform?
D4 MR. SITARAS: Objection, beyond the D4 A. Yes,
B5 scope. I think we set aside someone else BS Q. How long does it take for them to
23 25
1 Squillante 1 Squillante
2 tor donning and doffing. 2 change into their uniform, approximately?
3 J will let him answer. 3 MR. SITARAS: Objection.
4 A. Could you repeat that question? 4 Go ahead.
5 Q. Jam trying to figure out, is there 5 A. Five minutes.
6 a locker room where people put on their 6 Q. After they change into their
7 uniforms? 7 uniform, do they have to get a canister of
8 A. Yes. 8  teargas, if they're required to have that?
9 Q. Where is the locker room located? 9 Do they keep that with them? Where is the
LO A. In the front of the facility, most LO canister of teargas?
11 = of the locker rooms are. It depends on the 1d A. The handheld chemical agent
L2 facility. L2 canisters you're talking about is OC. It's
13 Q. So since you have nine facilities, 13 handheld OC.
14 do they put on their uniforms at each 4 Q. What does "OC" stand for?
RS facility or is there a central building where 15 A. Olin resin capsule.
16 = people check in and put on their uniforms? | 16 Q. Could we call that "teargas”?
lL? am trying to understand how people log into 1? A. Yes.
18 their job in the momung. 18 MR. SITARAS: It doesn't matter.
i) A. Some people come dressed. Some L9 We could call it "teargas.”
PO people dress at the particular facility P 0 A. Pepper spray.
p11 they’re assigned to in their assigned locker =p. 1 Q. Pepper spray.
P2 room area at their assigned lockers. p 2 A. So after they get dressed —
p 3 Q. For instance, at the Davoren p3 Q. You gave a description of the
P4 Center, is there a locker facility at the P4 Pepper spray. Is that something that is
P5 Davoren Center? 25 available to the public to buy?

 

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30 32

] Squillante 1 Squillante

2 officers, the assistant deputy wardens 2 Q. What was your schedule; you said

3 inspect the captains. Every uniform member 3 7:00 to 3:31, that's 8 hours and 31 minutes a

4 has a uniform card of all the required 4 day you worked?

5 equipment and a section that is denoted for 5 A. Yes.

6 those inspections once a year. 6 Q. So how many days a week did you

7 Q. You said "every," who has the card’? 7 work?

8 A. Every uniformed employee. There is 8 A. IT worked 4's and 2's, I had

9 «uniform inspection card for each employee. 3 rotating shifts.
nO Q. Does that describe exactly what 1.0 Q. So average, when you says 4's and
11 he's required to wear? Hi =. 2's, did you mean four days; just explain.

2 A. Yes. 12 A. Four days on, two days off.

3 Q. So after the roll call is finished, 1 3 Q. You worked much less than 40 hours
4 then where do the correction officers go? h4  aweek?

15 A. Some report directly to their 15 A. [really can't --

6 assigned posts, others stage and await for a 16 MR. SITARAS: Objection. It's

i? search. They go on a scheduled search, 1? beyond the scope. Timekeeping has been
i institutional search. 8 designated for a different witness.

9 Q. They go from there to whatever 9 Q. When correction officers sign in in
20 their job duties are, whatever that day PO the moming, how much time is it before the
21 entails; either they go to supervise the 21 roll call starts?

22 inmates or they go take an inmate to the B2 MR. SITARAS: Objection, go ahead.
23 hospital, whatever their job is requiring p 3 A. It varies depending on what time
24 them todo? P4 they arrive at the facility. They need to be
BS A. Right. P5 at roll call with their uniform on at a
31 33

1 Squillante 1 Squil!..nte

2 Q. There is no more pre -- 2 designated time. Whatever it takes them to

3 A. No, they go wherever they're 3 do to do that, is whatever time they get

4 assigned, whatever the schedule says, that's 4 there.

5 where they go. 5 Q. So the sign-in sheet has nothing to

6 Q. Do they ever clock-in and out ona 6 do with the hours that they're paid for?

7 ~~ time clock? 7 MR. SITARAS: Objection.

8 A. No. 8 Go ahead.

9 Q. How do you calculate the hours that 9 Q. For instance, you said you signed
OQ the correction officers work? LO in quarter to 7:00, your hours started at
1 MR. SITARAS: Objection. This is 1 7:00. Do people sign in whenever they get
12 definitely beyond the scope that this 2 there, if they get there a half hour late?

3 witness was designated for. 13 A. They sign in when they arrive to
nA Q. When you were a correction officer, 4 the facility.

15 how did they calculate your hours? iL 5 Q. Before they do anything, before

i. 6 MR. SITARAS: To your knowledge. 16 they put on their uniform, do anything?

iL 7 A. To my knowledge, | was scheduled 7 A. Right.

18 from 7:00 a.m. to 3:31 p.m., so I would 1 8 Q. When they come to work, can they
19 arrive at the facility about a quarter to 29 drive night up to the facility with their car
20 7:00, put on my uniform, sign in at a quarter po or do they have to go through security

21 ~—_ to 7:00, stand roll call at 7 o'clock, and | 21 checkpoints?

22 was paid from 7:00 to 3:31. B2 MR. SITARAS: Objection.

D3 Q. How many hours per week did you B3 Go ahead.

P4 ~~ work? 24 Q. 1am won2.ring how people get to

5 A. 40. 5 their job?

 

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42 44

1 Squillante 1 Squillante
2 A. Yes. 2 protect their hands while they're conducting
3 Q. All the facilities? 3 searches, alsn to protect them from possible
4 A. Yes. If there is an emergency, and 4 exposure to body fluids of an injured inmate.
5 you press the button, in the control room on 5 Q. Because people may have diseases’?
& the panel board, three top lights up that 6 A. People may have contagious
7 ‘there is a problem. ‘Those stay at the post. 7 diseases. There may be blood-borne pathogens
8 hey don't get issued from the control room. 8 from au inmate that got assaulted profusely
9 Seme do though, but a very small portion 9 oreven a staff member bleeding profusely.

lO does, and I can give you examples of those, LO There are different types of gloves that are

1 if you want. 1 used, but traditionally it's basic prot ‘ction

Lz Q. Does an alarm go off once they hit 2 from diseases and to protect them while

13 this button -- 3. searching.

nA A. ¥es. Ht 4 Q. Do correction officers generally

y 5 Q. _ -- the protection bady alarm? 15 carry gloves?

6 A. Yes, and the alarm goes off in the Ht 6 A. Generally they do.

lL? control room. ih 7 Q. Ifacorrection officers is on duty

ng ©. ‘Then what happens? 8  inone of the facilities directly supervising

9 A. Then the facility locks down and M19 inmates, is he required to carry gloves?

20 they send a probe team to the scene. 29 A. No. ‘To my knowledge gloves is

D1 (). How do they get the probe team? 21 optional.

D 2 A. There's designated in each 22 Q. The flashlight is part of the

23 = facility. Traditionally, it’s the intake 23 uniform. What ts the purpose of the

24 staff, the receiving room or intake staff, B4 flashlight?

P5 they're designated as a probe team. A 25 A. The flashlight is required to be

43 45

1 Squillante 1 Squillante
2 supervisor and two or three correction 2 carried on the 3:00 to 11:00 p.m. shift and
3 officers go to the scene of that alarm. 3 the midnight shift, and its purpose is to be
4 Q. Where is the intake staff located? 4 utilized to provide extra lighting in dark
5 A. Inthe front of the facility near 5 areas, in cells, other dormitories that the
6 the control room traditionally. 6 correction officers patrol to make sure that
7 Q. Ifan alarm occurs during a meal 7 there is no problem with the inm:-tes, that
8 break, do correction officers on meal break 8 nobody is attempting to commit suicide,
9 answer the alarms? 9 things of that nature.

LO A. Absolutely. 1.0 Q. Is one of the duties of the

mt Q. Are they required to answer the 1 correction officers to inspect cells?

12 = ~=alarms? 2 A. Yes.

3 A. Yes. a) Q. So they probably search for weapons

14 Q. When the correction officers take A and other contraband?

1S meal breaks, are they required to wear their 1.5 A. Yes.

16 uniforms? 16 Q. Do they inspect the cells on a

7 A. Yes, they're required to wear their = =[7 regular basis? J don't know if you

18  wuniforms at all times. 8 understand the question tam asking. Is

19 Q. Are they required to be on-call and 9 there a time each day that there is cell

PO ready to answer alarms? 20 inspection or is it done on an ongoing basis?

D1 A. Yes. 21 A. No, it's done every day. Every day

D2 Q. What is the purpose of the gloves R2 cell inspections are conducted.

P3 as part of the uniform? x Q. Always at the same time?

pA A. I don't know that the gloves are p4 A. Various times,

P5 part of the uniform. But they're used to v5 Q. So the flashlight may be maybe used

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12 (Pages 42 to 45)

 

 
 

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46 48
1 Sguillante 1 Squillante
2 as part of cell inspection? 2 by correction officers that we have not
3 A. To help assist in the search and 3. discussed today?
4 the cell inspection, yes. 4 A. Not that I recall.
5 Q. As part of the uniform, the 5 Q. Are the stab proof vests available
6 correction officer also carries a memo book’? 6 to the public?
7 A. That is correct. 7 A. [don't know.
8 (). What is the purpose of memo book é Q. When you were a correction officer,
9 and pen? 9 dict you change at the facility into your
b () A. To denote specific things relative HO uniform?
i1 to their post or instructions or assignments = 1 MR. SITARAS: Objection.
i2 for that particular date and tour. It's a 12 Go ahead.
t3 legal document. 3 A. Yes.
h 4 Q.  If.an alarm occurs, would they 4 Q. Did you ever change at home into
5 write up what happened in their book right 15 = your uniform?
1.6 after it happened? i G A. Occasionally.
7 A. They may make a notation to that in = [.7 Q. How often would you change at home?
18 their book. It's certainly not required. 1 8 MR. SITARAS: Objection.
19 It's Kind of optional. What is really 9 Go ahead.
20 required to be put in there are the date, 2 0 A. Three times a month.
21 time and general condition. 1 Q. Why would you change sometimes at
D2 Q. You're required to put a date and 22 home and sometimes at the facility?
23 time and general condition; is it an ongoing py 3 MR. SFFARAS: Real quick, | am
P4 — jog that's kept in these memo books? R4 poing to put a blanket objection to the
PS A, __Each page represents a day. R5 personal questions. He's here as a
47 49
1 Squillante 1 Squillante
2 Q. Are you required to write something 2 30(b)(6) witness, but IT will let him
3 in the memo book each day? 3 answer as to individual capacity.
4 A. Yes. 4 Go ahead.
5 Q. So, for instance, if nothing 5 A. Twas running late.
6 — unusual happens, you might write -- 6 Q. If you're running late, why is it
7 A. Nothing unusual. 7 faster to change at home?
8 Q. — 12:31, nothing unusual today, 8 Do you carry your uniform home
9 but if somebody attacked somebody, you would 9 every day?
nO say X attacked X, or I was there and called LO A. This is the truth. Ready? |
11 alarm -- 11 didn't have a clean shirt in my locker, so I
n 2 MR. SITARAS: Objection. 2 knew it, so I had to dress at home.
i 3 Go ahead. 3 Q. But you ke zp your uniform both at
h 4 A. You may write that. There is no 4 home and at the iactlity?
15 specifics to that. It's date, time, post, 1S A. Well, it's only home when it's
16 the name of your supervisor, and stuff to 6 dirty, su it had to be washed real quick, but
7? that nature. 1? 2 keep my uniforms in my locker.
1 8 Q. fs there any equipment used by the 8 Q. Basically you change at the locker?
19 correction officers that is required that we i) A. Yes.
20 have not discussed today, any part of the 20 Q. Except for these exceptional
P21 uniform or equipment that we have not R21 circumstances when you don't have a clean
2 discussed? R2 shirt, et cetera?
B3 [Let me rephrase the question. v3 A. Yes.
B4 Is there any part of the required pa Q. Is ita concern of correction
25 uniform and equipment to be worn and carried 25 officers that people in their neighborhood

 

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13 (Pages 46 to 49)

 
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50 §2
1 Squillante 1 Squillante
2 know that they are a correction officer? 2 Q. What clothes have you mixed with
3 MR. SITARAS: Objection, beyond the 3 it?
4 scope. Go ahead. 4 A. I puta Yankee jacket over my
5 A. I think it’s a matter of opinion. 5 correction officer shirt and proceeded to
6 Some people say they don't feel comfortable 6 travel to work that way.
7 ~~ that people in their community know that 7 Q. When did you do that?
8 they're correction officers. 8 A. [don't --
9 Q. When you say "some people,” you 9 MR. SITARAS: Objection.
LO mean some correction officers? nO A. [don't recall when I did that.
4. A. Some correction officers, yes, | 1 Q. Have you done that recently?
12 have heard some correction officers. 2 A. Actually, yes, [did. Yes, I did
; 3 Q. And have they said that they are 13 do that recently.
4 concerned that people might retaliate against 4 Q. Have you mixed any other civilian
2S them in their neighborhood because they would 115 — clothes with your uniforny?
n6 dislike them for being correction officers? 6 A. No. It has always been usually a
L? MR. SITARAS: Objection. 7?  coverall garment or jacket type of thing.
h 8 Go ahead. L8 Q. Have you ever worn a baseball cap?
iL 9 A. I've heard that. 19 A, No.
DO Q. And when I say "retaliate," did bo Is it all right if 1 go —
P1 they say that they felt they might be Bi MR. SITARAS: Do you want to take a
22 physically threatened, did they feel -- let p 2 quick 20-minute break?
B3  merephrase the question. B 3 MR. RAND: Sure.
D4 Did they feel that if people in 24 (Recess taken - 14:09 to 11:28.)
PS their neighborhood knew they were a PS BY MR. RAND:
51 53
1 Squillante 1 Squillante
2 correction officer that they might be in 2 Q. Back on the record.
3. danger of physical violence from somebody in 3 Before we had talked about the
4 the neighborhood or a past inmate or 4 — uniforms and equipment and putting it on in
5 criminal’? 5 the morning. Now, | want fo go toward to the
6 MR. SITARAS: Objection. 6 — end of the shift. How do you take off your
7 Go ahead. 7 — umform and retum your equipment at the end
8 A. [didn't hear that specifically. I 8 ofa shift if you're a correction officer?
9 was told that they would put a sweatshirt or 9 A. Pretty much you start at the
nO coat over their actual uniform shirt so no 2O control room on the way out, drop off any
1 one would recognize whe they were. When they [11 keys or chemical agent or anything else that
12 would get to work, they would just take it 12 was issued from there, and then proceed to
13 off and be ready, 13 the locker room, and take all your equipment
i A Q. Isn't there a regulation that 14 and uniforms off and put back on your
15 requires no correction officer mix civilian 1S civilian attire and exit.
n6& clothes with a uniform? LL 6 Q. How long does it take to retum
1? MR. SITARAS: Objection. 7 your equipment to the contro! room and the
1 8 Go ahead. 18 change in the locker room from your uniform?
hg A. [don't recall that — I never saw 9 A. About five or ten minutes.
20 that regulation, 20 Q. When do you sign out?
21 Q. Have you ever mixed civilian Bi A. As you're exiting.
22 clothes with your uniform? B2 Q. Sois that before you go to the
23 A. Ihave. Not at work, though. You 23 control room?
24 know, in the community at home, on my way to 4 A. No, After you put on your civilian
25 work. 25 clothes, traditionally you walk by the
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14 (Pages 50 to 53)

 

 
 

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EXHIBIT Y
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ee ee tee tae ee ete re ee ee ea te te ee ee ee ee ee ee ee ee ee x
ERIC EDWARDS, Individually
and on Behalf of All Other Persons
Similarly Situated,

Plaintiffs,

No. ECF 2008
-against- Civ:3134 (DLC)

THE DEPARTMENT OF CORRECTIONS OF THE
CITY OF NEW YORK AND THE CITY OF NEW
YORK,

Defendants,
wae eee eee eee ee en ee sonny

228 East 45th Street
New York 10017

October 14, 2010
9:57 a.m.

EXAMINATION BEFORE TRIAL of Ira
Kleinburd, taken on behalf of the Plaintiffs, and
held before Connie Stanieski, a Notary Public

within and for the State of New York.

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IRA KLEINBURD

Buffalo 1972.

Q. And do you have any post graduate
degrees?

A. No.

Q. Can you give me a short histo:y of

your work background?

A. I have been working for the city
Since 1973. I was a pension analyst for about
Six and-a-half years, and since August 1979 I
have worked for the department of corrections in
the payroll area, personnel area.

Q. What is the standard schedule for
correction officers?

A. It, the standard, the most common
schedule is an 8 hour and 31 minute day working

four days with two days off so it's a six day

schedule.

Q. And so how many hours do they work a
week --

A. It varies --

Q. -- on that schedule?

A, It varies based on their specific
schedule.

Q. I mean, if you have the schedule you

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17
IRA KLEINBURD

his normal day is 8 and-a~half hours and he is
told to stay past those 8 and-a-half hours, any
hours worked on that day in excess of those hours

are paid as overtime.

Q. So it's on a daily basis?
A. Correct.
Q. Thank you. And when you say 8

and-a-half, generally it's 8 hours and 31
minutes, correct?

A. It's 8 hours and 31 minutes or it
could be 8 hours and 15 minutes depending on the
tour. It gets more complicated as we go along,
but for the record it's 8 hour and 31 minutes is

for the most part the most common.

Q. And why is it 8 hours and 31
minutes?
A. It's been that way for as long as I

can remember. I have absolutely no reason, it
could just be the way it was set up in terms of
manning.

Q. Because it just seems odd to me that
31 minutes, 8 hours and 31 minutes, so it just
seems odd to me.

A. I couldn't tell you.

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18
IRA KLEINBURD

Q. So most officers work a weekly
schedule that's 42 hours and 35 minutes; is that
correct?

A. Most officers work a schedule that
is dictated by four days on and two days off and
8 hours and 31 minutes a day.

Q. Well, do any officers work on a five
day schedule?

A. Yes.

Q. So for those officers how many hours
a week do they work?

A. If they work Monday through Friday
then they would work 42 hours and 35 minutes.

Q. And they would only get overtime if
they work more than the 42 hours and 35 minutes?

A. Actually for those people who work a
schedule that's dictated by five days at 8 hours
and 31 minutes, they are compensated monthly by
receiving compensatory time into their time bank
because they are working in excess of their
yearly protracted hours.

Q. So what are they getting paid in
addition if they work five days?

RB. I think it's 11 hours and 40 minutes

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19
IRA KLEINBURD

of comp time.

Q. Per month?
A. Yes.
Q. How many correction officers work a

five day schedule, approximately?

A. I don't have the exact number, not
too many.

Q. So it's less than five percent?

A. I wouldn't venture a guess that's a

percentage, but it is few.

Q. So the bulk of the officers work
four days on and two days off?

A. Correct.

Q. And for those officers, if they work
four days on and two days off in a row without a
change in that schedule, they would be working 42
hours and 35 minutes per their schedule in a
seven day period?

A. Not necessarily.

Q. If you presume they work in a row
four days on, two days off, four days on, two
days off, without changing that pattern?

A. Not necessarily.

Q. Why?

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39
IRA KLEINBURD

8 a.m. in the morning receive an additional 10

percent premium.

Q. Is that an exception event also?

A. Yes.

Q. And what other exception events are
there?

A. Overtime.

Q. So overtime, night differential.

Are there any other differential events?

A. The deduction of pay would be an
exception event.

Q. And that's for AWOL or suspension?

A. Correct. There are additional extra
additional payments that are made over the course
of the year which are contractually driven but

they are isolated.

Q. So like contractual bonus type
payments?
A. The individuals get paid holiday pay

twice a year and they receive a uniform
allowance.

Q. Are there any other special payments
that you recall?

A. There are additional recurring

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42
IRA KLEINBURD

A. Yes.

Q. How is the overtime rate calculated
for correction officers?

A. It's the annual salary divided by
2088 hours per year times time and a half.

Q. Sorry, can you just repeat that?

A. Sure, it's the annual salary divided
by 2088 times one and-a-half, and there is an
additional factor added in if that overtime is at
night.

Q. Where does the 2088 number come
from? Where does that come from?

A. That's the amount of hours that they
are I'd like to say contractually agreed upon
that they must work within each particular
calendar year and I believe that's the case.

Q. So that would coincide with their
standard schedule?

A. Yes and no’only because deperiiing on
the number of appearances per year and the number
of hours per day there might be a, there might be
the ability to work in excess of those normal
hours where an individual possibly could get that

compensatory time pop up for let's say the five

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IRA KLEINBURD

to heads of, it concerns city departments

and agencies from James F. Hanley,

Commissioner, the subject is Executed

Contract Correction Officers, term May 1,

2005 to July 31, 2005, and it is a 25 page

document, it's double sided and counsel

does not want to mark it as an exhibit at
the deposition.

Q. Does this appear to you to be the
2005 and 2007 collective bargaining agreement?

A. Yes.

Q. And do you see in Article 3 it talks
about hours and overtime?

A. Yes,

Q. Does it say that correction officers
are supposed to get paid overtime after 40 hours
in a week?

A. Yes,

Q. Did correction officers get paid
overtime after 40 hours in a week?

A. Yes.

Q. I thought they had a schedule that
was 42 hours and 35 minutes?

A. It also indicates that, it says

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IRA KLEINBURD

overtime in excess of 40 hours a week or in
excess of the hours required of an employee by
reason of his regular duty chart if a week's

measurement is not appropriate.

Q. Is a week's measurement not
appropriate?
A. In this particular case it is

because technically officers may work either a 34
hour a week or 42 hour week so for the most part
they are paid overtime in excess of their daily
tour, so if in an individual works 8B and a half,
8 hours and 31 minutes a day, if they work an
hour and-a-half in excess of that day they get an
hour and-a-half overtime regardless of wha they
do the rest of the weeks.

Q. Could you just identify where the

collective bargaining agreement ends in this

package?
A. Officially or unofficially?
Q. I mean, it was all produced to me

with double sided, you know --
MS. O'CONNOR: This was produced by
our office?

MR. RAND: Yes.

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Eni i 7 ae TIT RET ee ET I Oe

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UNITED STATES DISTRICT COURT ,
2 CYNTHIA LEWIS
SOUTHERN DISTRICT OF NEW YORK ,
eeceee tee ceeceeereseeeceeceseoneceneeneenees x 3 having been first duly sworn by the
ERIC EDWARDS, Individually and On 4 Notary Public (Georgette K. Betts), was
penal nee Persons 5 examined and testified as follows:
, 6 EXAMINATION
Plaintiffs, 7 BY MR. RAND:
Civil Action No. 8 Q. Good morning.
-against- ECF 2008 CIV: 3134 9 A. Good morning.
(DLC)(GWG) LO Q. My name is William Rand. I'm
THE DEPARTMENT OF CORRECTIONS OF 11 going to ask you a few questions today. If you
THE CITY OF NEW YORK and THE CITY 12 ever need a break, just let me know.
OF NEW YORK, 13 A. Surely.
Defendants h4 Q. And if you ever do not understand
nee ee eee eee x 15 question, just let me know --
February 28, 2011 6 A. Indeed.
9:48 a.m. L7 Q. -- and I will rephrase the
Deposition of CYNTHIA LEWIS, taken by L8 question.
Plaintiffs, pursuant to 30(b)(6) Notice of 19 A. Thank you.
Deposition, at the Law Offices of William PO MR. RAND: Can I mark as
Coudert Rand, 228 East 45th Street, New York, + etre sas :
New York, before Georgette K. Betts, a Bl Plaintiffs Exhibit I Notice of
Certified Shorthand Reporter, Registered P2 Deposition of defendant.
Professional Reporter and Notary Public within p 3 (Whereupon, 30(b)(6) Notice of
and for the States of New York and New Jersey. D4 Deposition, was marked as Plaintiffs’
5 Exhibit | for identification, as of
Page 2 Page 4
1 1 Cynthia Lewis
2 APPEARANCES: 2 this date.)
3 LAW OFFICES OF WILLIAM COUDERT RAND " :
Attorneys for Plaintiffs 3 Q. Have you seen the Notice of
4 228 East 45th Street 4 Deposition marked as Plaintiffs' Exhibit 1
17th Floor 5 before?
5 7 ' .
new sori ‘oe York 1001 6 A._No,Thaven't. This is my first
6 wcrand@ werand.com 7 time.
7 8 Q. What is your educational
: BY: WILLIAM C. RAND, ESQ. 9 background?
9 Corporation Counsel of the City of New York LO A. A lot of years of college but
Attorneys for Defendants 11 basically my major ‘vas dance education and
10 he Church Street 2 theater and [ minor..J in management.
oom 2-
11 New York, New York 10007 1 3 Q. What college was that?
212.676.2750 L4 A. I went to Lehman.
12 15 Q. When did you graduate?
BY: ANDREA O'CONNOR, ESQ. 16 A. Idid not. I didn't complete any.
15 L7 Q. Did you graduate high school?
16 18 A. Yes, I did.
tg L9 Q. What high school?
19 BO A. South Shore High School in
20 Rl Brooklyn.
21 p2 Q. And when did you graduate?
. b3 A. I believe that was in '75.
24 pA Q. What did you do after you
25 25 graduated from high school?

 

 

 

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2 user would ask the MOS of what were their 2 So after the year 2000, when did
3 illnesses and then that would be put into the 3 you then again work with overtime time sheets?
4 system and at that point it would be determined 4 A. This is ‘10, I came in the unit
5 whether the officer should return to duty -- 5 March of 2009.
6 given a return to duty date or given an 6 Q. And you're still in the unit?
7 appointment to come into health management. 7 A. Yes, Iam.
8 Q. What I was really asking when was 8 Q. Do you know how the time sheets
9 the first time you dealt with time sheets and 9 worked for the period between the year 2000 and
O people -- LO 2009?
1 A. I'm sorry, moving right along -- 1 A. Yes, sir.
2 Q. --and people's overtime? iL 2 Q. And do correction officers receive
3 A. Moving right along. Um, when in 3 overtime if they do not submit overtime slips?
4 ‘95 we had another reorganizational change and I 4 A. No, they do not.
5 became a supervisor over timekeeping for 5 Q. Ifa correction officer works
6 personnel, the uniformed personnel for five 6 overtime and writes down all his sign-in/sign
7 years. And what that meant was we would 1? out that he worked overtime but fails to put in
8 retrieve their time cards from the command and 8 an overtime slip, will that correction officer
9 any compensation that was due that officer at 19 ever receive overtim:?
XO that point we would generate it, what we call a 2 0 A. No, he will not.
P1 generic ETR because it was not aelectronicETR. 21 Q. And normally how are correction
P2 And the ETR is one of the devices that you use 22 officers paid?
23 to pay the employee. 23 A. What do you mean?
p 4 Q. Allright. Let's just slow down. 24 Q. Yeah. If an officer -- let's say,
25 When did you first start this job you're talking 5 an officer has a day shift --
Page 10 Page 12
1 Cynthia Lewis 1 Cynthia Lewis
2 about? 2 A. Uh-huh.
3 A. That was in ‘95, 3 Q. -- and he doesn't work any
4 Q. And when did you stop doing this 4 overtime in a two-week period --
5 job? 5 A. Uh-huh.
6 A. Five years later. So that would 6 Q.__ -- how is he paid?
7 be like '95 -- '94, '95, '96 -- '95, ‘96, '97, 7 A. He does not work?
8 '98, '99, yeah. 8 Q. If he does not work any overtime?
i) Q. And have you had any job that is 9 A. Straight pay.
0 related to the time keeping for overtime since 10 Q. Right. So I'm just asking how the
1 year 2000? 11 straight pay works,
2 A. Now. 12 A. Based on your sign-in and out
3 Q. Now you do. Okay. 13 sheet, if we see that it is documented that you
4 A. Uh-huh. 14 — signed in and out, you will get straight pay.
5 Q. When did your job now -- LS Q. That will »e hourly pay for your
6 A. Two years. 16 shift?
7 Q. Just let me finish the question. 17 A. Correct.
8 A. I'msorry. 18 Q. What is the length of the shift?
9 Q. Sorry. Because otherwise she 19 A. What do you mean? It's a 40-hour
QO can't -- PQ work week. They're custodial employees.
1 A. Sorry. Very sorry. pe 1 Q. So are they paid for 40 hours?
2 Q. Then you don't know what you're p2 A. Correct.
3 answering. p3 Q. And do you know what rate they're
4 A. Oh, see. Sorry. B4 paid the 40 hours?
5 Q. It's okay. BS A. Well, it depends.

 

 

 

3 (Pages 9 to 12)

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Q. Okay. Are correction officers

 

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2 Q. What does it depend on? 2 required to change nto their uniforms prior to
3 A. It depends on what time they 3 the start of their hourly shifts?
4 came -- when they were employed with the 4 A. Definitely.
5 department. All correction officers do not make 5 Q. And are they paid for the time
6 the same rates. 6 period that they change into their uniforms
7 Q. Is it based on the collective 7 prior to their shift commencing?
8 bargaining agreement? 8 A. I wouldn't really know that
9 A. Correct. 9 because it's a part of their equipment for their
0 Q. But they're paid by the hour not LO safety and it’s part of their training in the
1 __ by salary? 1 academy, so if they have to report to roll call,
2 A. Well there's a basic salary and 2 you know, with their attire, then I guess that's
3 it's hourly, 40 hours. 3 what they have to do.
4 Q. And-- i 4 Q. And you don't know if they're paid
5 A. Which is really New York City iS for that?
6 Personnel, not necessarily -- the collective IL 6 A. No, because I would think that
7 bargaining with the union determines their 17 — it's included in their salary because of the 31
8 raises, their salary is determined by New York 18 minutes.
9 City. 19 Q. What's the 31 minutes?
PO Q. And if a correction officer works 20 A. When the officer reports to roll
21 more than 40 hours in a week is he entitled to 21 call at seven or at 11 or at 10:45, what have
P2 overtime? P2 you, that's the transition time for them to
x) A. If he submits a slip, yes. k3 report to roll call and then for them -- at the
D4 Q. And at what rate is he paid P4 — roll call for the 15 m‘nutes for them to get to
PS overtime if he submits a slip? P5 relief the officer. So technically there's a
Page 14 Page 16
1 Cynthia Lewis 1 Cynthia Lewis
2 A. Time and a half. 2 15-minute change in there, so to be exact about
3 Q. And how is the time and a half 3. them changing their clothes or anything like
4 calculated? 4 that, I really couldn't answer that.
5 A. By the hour. 5 Q. Well do you know what the length
6 Q. And how do you calculate the 6 of a daily shift is for a correction officer,
7 hourly rate? 7 standard shift?
8 A. What do you mean? I'm not clear 8 A. 831 is their daily standard shift.
9 on what you mean by that. 9 Yes, sir.
0 MS. O'CONNOR: Objection to the 10 Q. Eight hours and 31 minutes?
1 extent we had a witness who testified i A. That's if they're in the command.
2 as to the calculation of the hourly 2 Q. How many hours a week do they
3 rate. 13 work?
4 So you can answer if you know, 4 A. There's a five and two work week
5 but I'm just preserving for the record 15 and there's a four and two work week. If they
6 that we had somebody who testified to 16 are five and two, they are compensated
7 this. 7 additional 11 hours and 20 minutes a month.
8 A. Well, the hourly rate is still 1 8 If they four and two they lose two
9 based on what the salary -- what the annual 19 days because of the calendar year.
Q salary is. And because the person is a 20 Q. But if you'’e a five and two do
P1 custodial worker, they will always receive time 21 you work five eight :.our and 31 minute shifts in
P2  andahalf. The only staff person that will not 22  aseven-day period?
~3 receive time and a half is a civilian ‘cause 23 A. From what I've witnessed, I've
P4 they work a 35-hour work week. 24 seen them work 831 but usually that depends on
D5 25 what type of five and two job that they're doing

 

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1 Cynthia Lewis 1 Cynthia Lewis
2 Q. Well you said that people are paid 2 A. Okay.
3 the hours that they work on their shift? 3 Q. How many hours a week does an
4 A. Correct. 4 officer work on a five and two when he works
5 Q. And if they work outside their 5 eight hours and 31 minutes a day?
6 shift they only get paid for that if they submit 6 A. Uh-huh. Sorry, I draw a blank.
7 an overtime stip; is that correct? 7 ‘I'm just sorry because in my head I'm thinking
8 A. No, you said what now? Explain 8 of Saturday to Sunda;. So I'm thinking of --
9 that again. 9 and when we speak of officers reporting for
1 O Q. If people work more than their iO duty, we -- the language is appearances. Soa
11 shift -- 1 four and two appear in a week to me almost the
1 2 A. Okay. 2 same time as a five and two.
1 3 Q. -- the only way they can be paid 1 3 Q. Right, because they're each
14 more money is -- 4 working five days in a seven-day period,
nS A. Right 15 correct?
i 6 Q.__-- to put in an overtime slip? il 6 A. Correct, right.
7 A. Correct, correct. 7 Q. So if somebody works an eight hour
8 Q. So if they changed into their 18 and 31 minute schedule each day or five days out
19 uniform and equipment before their shift and did [19 of .aseven-day period, are they -- is that
20 not put in an overtime slip, then they would not 20 schedule more than 40 hours in a week?
P1 be paid for that time; is that correct? pi A. That is. It was determined after
BR 2 A. No, because number one they 22 we did the numbers.
23 haven't submitted a slip and, no, they're not B3 Q. And are the officers always paid
P24 compensated for that, you're night. 24 time and a half for the hours they work over the
25 Q. Okay. And if they changed out of > 40 that is part of their schedule?
Page 22 Page 24
1 Cynthia Lewis 1 Cynthia Lewis
2 their uniform after the end of their shift and 2 MS. O'CONNOR: Objection.
3 did not submit an overtime slip, then they would 3 A. Well, put *t to you like this, no,
4 not be paid for the time period after their 4 and the reason why :'m saying no is because it
5 _ shift during which they changed out of their 5 has to be something contractual. Has to be.
6 uniform; is that correct? 6 Q. What has to be?
7 A. Correct, if they changed, you're 7 A. That you're asking me, right, if
8 right. 8 they work more than 40 hours and they're not
9 Q. Okay. And if an officer's shift 9 putting in a slip, then the thing is are we
0 is more than 40 hours are they paid for the 10 practicing paying them time and a half whether
f1 hours over 40 at time and a half? 11 they submit a slip or not. That's what I'm
fl 2 A. If they submit a slip, yes, sir. 12 understanding from the questioning. So, if that
1 3 Q. And if they don't submit a slip? 13 is the case, then there's an annual salary and
1 4 A. Then they're not compensated. 14 there has to be something contractual in place
h 5 Q. Are they entitled to submit a slip 15 for it. That's all I'm saying.
16 for -- like you had just said you thought the 6 Q. Do you review officers’ sign-in
7 schedule was 46 and a half hours, is that what i? and sign-out sheets?
lhe you felt the five and two schedule was? 18 A. Yes, sir when my timekeepers have
19 A. No, I've never thought anything 9 acomplaint about certain employees never
PQ about the five and twos. You asked me a PO signing in and out, yes.
P1 question about the five and two. p 1 Q. So normally does the timekeeper
D2 Q. Okay. Well I'll ask you, how many 2 always review all time in/time out sheets of a
y3 hours a week -- e3 correction officer?
p 4 A. Exactly. You asked me -- pA A. That's how they're paid, so, yes,
pS MS. O'CONNOR: Let him finish. PS sir.

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Cynthia Lewis

that would be straight pay for daytime hours.
If they work a midnight they are compensated for
midnight rate. If they work in the evening,
let's just say three to 11, they are also
compensated for an evening rate.

So on those -- and the last box
determine how they should be paid based on their

owt dD OS® WD

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Cynthia Lewis

Q. Time and a half of your regular
day rate?

A. Correct.

Q. With no adjustment for doing
the --

A. Correct.

Q.  -- night shift?

 

 

 

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9 appearance of their tour. 9 A. That's for all city employees of
0 Q. What does that mean, the iO New York, it's not just the officers.
1 appearance of their tour? 1 Q. And what if you're normally doing
2 A. Meaning that they're eight to 2  amidnight shift and you do overtime during a
3 four, or they're five to one, or they're one to 3 day shift?
4 nine that’s the appearance of their tour. i 4 A. Correct. If you come in on the
5 Q. How does that effect how they're 5 midnight you will be c »mpensated for the
6 paid? 6 midnight rate of the midnight, yes. Then you
7 A. How does it effect how they're 17 would get your normal overtime in the day,
8 paid? Well their contractual agreement of their 8 correct. They do change their tours.
9 salaries. But remember, by the rate they're 9 Q. What I'm saying is, you get a
PO paid more. 20 premium hourly rate for working a midnight tour?
P 1 Q. More than what? 21 A. Correct.
b 2 A. Well, you get 10 percent for every 22 Q. And if after your midnight tour
P3 hour I believe it is that you work in an evening 23 you do a double shift and work a day tour --
yP4 ora midnight shift. And that's contractual by pz 4 A. Right, you just get the overtime.
P5 the City of New York. B5 Q. So that overtime would be a time
Page 30 Page 32
1 Cynthia Lewis 1 Cynthia Lewis
2 Q. Right. There's a premium for 2 and ahalf your normal premium midnight tour
3 working the midnight shift? 3 rate?
4 A. Correct. Five to one, 5:00 a.m. 4 A. No. Straight pay.
5 in the morning to one is considered midnight, 5 Q. It would be time and a half the
6 okay. One to nine is considered an evening. So 6 regular day rate?
7 those rates, again the boxes on the side of the 7 A. Correct, correct. That's for all
8 time card, will indicate which rate to 8 city employees. That's a city -- that's a New
9 compensate the employee so you can pay him his 9 York City personnel thing, that has nothing to
QO overtime. IO do with them being officers.
1 Because you cannot get compensated i 1 Q. Andon the time card what does it
2 if you work -- let's just say if I work a 2 show about overtime?
3. midnight, 11 to seven, I would be compensated 13 A. It has a code meaning the type of
4 for that. But if I go in to seven to three or 14 overtime and also -- it's also coded in the rate
5 let's just say I did seven to three and I went 5 box which determines at what rate they should be
6 into the three to 11, I will not be compensated 6 compensated.
7 extra money for overtime for the rate, for the 7 Q. Does it show the hours of overtime
8 evening rate. 18 worked by the individual?
9 Q. Oh, so you're saying that if you 9 A. Sure, yes.
QO have a regular day shift and then you do 0 Q. And is that a weekly amount?
1 overtime during a midnight shift -- p1 A. They don't work a weekly amount.
2 A. Right. 22 Usually they may do one six sometimes, depending
3 Q.  -- you get your overtime at the 23 upon the command, some have done four six out of
4 regular day rate? 24 their four-day working appearances, yes.
5 A. Time and a half, correct. 25 Q. But I mean the overtime is

 

 

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1 Cynthia Lewis 1 Cynthia Lewis
2 calculated every two weeks? 2 A. The captain. It's in the control
3 A. They're paid every two weeks. 3. room.
4 Q. And so how -- 4 Q. Sometimes is there an overtime
5 A. You're always paid two weeks 5 slip that is not reflected in the tour
6 before the week you worked. 6 certification sheet?
7 Q. So they're paid their overtime 7 A. Yes, sir.
8 every two weeks? 8 Q. What happens in that instance?
9 A. Uh-huh. 9 A. Well, when that happens it's given
0 Q. And that's calculated for the two LQ back -- we go back to the control room to find
1 weeks prior? 1 out why the overtime slip wasn't documented.
2 A. Correct. 12 And either sometimes the employee will submit it
3 Q. And is the overtime calculated 13 late, for whatever that employee's reasons, and
4 over a one-week period? 4 now we have to find out who authorized the
5 A. Yes. Every week -- yes, at the 1.5 overtime and whether or not -- or which tour
6 — end of the week it's calculated, correct, sir. 16 certification sheet it belongs on in terms of a
7 Q. And when the timekeeper -- does 17 late entry. And then we compensate the
8 the timekeeper review the overtime slips? 18 employee.
9 A. What do you mean by review them? 19 Q. Well let's use the example that
PO Q. Do they receive overtime slips? yO there is an overtime slip that's not on the tour
P 1 A. Every day. 21 certification slip. So the overtime slip has
RZ Q. Okay. And who gives them the 22 been submitted in a -imely manner but for some
P3 overtime slips? 23 reason is not reflected on the tour
p4 A. It comes from the control room. R4 certification?
BS Q. And who in the control room gives As) A. It wasn't in a timely manner
Page 34 Page 36
1 Cynthia Lewis 1 Cynthia Lewis
2 _ the timekeeper the time slips? 2 _ that's why it's not on the tour certification
3 A. After the captain documents all of 3 sheet. That's what happened, it wasn't
4 the overtime of what we call a tour 4 submitted in a timely manner. So the captain on
5 certification sheet, that tour certification 5 that tour, if he doesn't know who authorized
6 sheet along with the overtime slips are 6 that overtime, he will not assume the
7 submitted to personnel for compensation. And 7 responsibility to pay the employee because he
8 what they do is that they can't -- they do 8 needs to know where it came from in order to
9 review the slips because sometimes there may be 9 code the overtime slip for payment.
OQ some discrepancies, so the tour certification 10 Q. Is there ever a time that a
fi sheet along with the time sheet -- the time 11 captain refuses to pass along an overtime slip?
12 slip, the overtime slip is reviewed together and 1 2 MS. O'CONNOR: Objection.
f.3 then they will go back to the tour commander to 1 3 A. Not to my knowledge.
4 ask, you know, just to clarify what they're 1 4 Q. But if a captain did not pass a
15 looking at on the overtime slips versus the tour 5 along an overtime slip to a timekeeper, the
6 certification sheet. 16 timekeeper would not know that, correct?
i 7 Q. I'm not sure I'm following you. 17 A. Correct, would not. And usually
8  Sodo the overtime slips sometimes not match up [8 at that time the staff, when they receive their
9 with the tour certification sheet? 19 paycheck and the overtime is not compensated,
DO A. Correct, sir. 20 then they come to my office.
D 1 Q. So if they do not reconcile then P 1 Q. Who comes to your office?
P2 you send them back? p 2 A. The officer.
D3 A. Correct. p3 Q. And they complain?
D 4 Q. And what is exactly -- who fills D4 A. Of course.
P5 out the tour certification sheet? BS Q. And have you ever had an officer

 

 

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1 Cynthia Lewis 1 Cynthia Lewis
2 Q. Then if you look further down in 2 they -- it's two different rates of comp time
3 the left side it says HRNT differential? 3 can be paid. Meaning holiday versus actual comp
4 A. Right, hourly night differential. 4 time.
5 Q. So that's the premium he gets for 5 Q. And what the --
6 working the night shift? 6 A. That's persw-1al leave which, like
7 A. Yeah, it looks like he do a three 7 Tsaid, you know, if I had the time card you
8 toll. 8 can -- I can explain it best, but it's personal
9 Q. Then if you look further to the 9 leave, Like I said, those numbers are
0 right it says "comp time." 10 inaccurate period. That something that comes
1 A. That is not accurate. 1 from the systems of the PMS management systems.
2 Q. Why is that not accurate? 2 Q. Has that been fixed since?
3 A. Because we never submit any time. 13 A. Yes, we're on CityTime. Only
4 That's something that the City of New York 4 Rikers Island, not the borough jails.
5 systems just generate and that's fixed. 1S Q. That was fixed by CityTime?
6 Everybody now that works on Rikers Island has [6 A. Yes.
7 the accurate amount of time balances on their 7 Q. If you look down the left bottom
8 pay stubs. 18  itsays 20 YRIB 414HS, do you know what that
9 Q. But this is not accurate on this 19 description stands for?
PO pay stub? 20 A. Uh-huh, that's their pension.
P 1 A. Nope. It never was. 21 Q. That's the pension?
p 2 Q. So when it says negative 8507, B2 A. Uh-huh.
P3 what does that refer to? 23 Q. And then it says G-CBP-EMPE?
pA A. That's referring to 85 hours 4 A. That's their medical preference.
P5 and -- negative 85 hours and seven minutes, 25 It's up to them whether they want it or not.
Page 82 Page 84
1 Cynthia Lewis 1 Cynthia ".ewis
2 _ that's what it's referring to of comp time. 2 Q. Okay. At! then if you look to the
3 Q. But that's not a correct number? 3 right there's another description that says,
4 A. No, it is not. 4 "20YRIPB health"?
5 Q. So was that a computer error? 5 A. That's their union. That's the
6 A. That's something that the City of 6 union, something with the union there. How many
7 New York never computed. 7 years.
8 Q. So this does not indicate that he 8 Q. And is that an insurance fee?
9 does actually have negative -- 9 A. That's -- 20 years to me that's
Q A. Correct. O something contractual with the union. That's
1 Q. -- 85 hours? t1 something that they do with their union,
2 A. Correct. 12 whatever negotiations the union in terms of
3 Q. And what about the -- 3 added for their health insurance. It could be
4 A. The vacation time, the negative 4 medicine, I don't know.
5 200 hours and 57 minutes and 31 minutes. 15 Q. If you look at the second page of
6 Q. Is there an error also? 16  Plaintiffs' Exhibit 2, do you see on this one on
7 A. Of course. 1? the far left it has something called "holiday
8 Q. What does this say, "Pers LY H&M," £18 premium?"
9 what does that describe? 19 A. Right. Holiday premium is only
PO A. Where are you? PO given to civilians not officers.
P 1 Q. Personal leave something? P 1 Q. Was Immanuel Washington paid a
p 2 A. Right, it's in accurate. P2 holiday premium?
p 3 Q. What does it stand for, Pers LV P 3 A. It could have been something that
P4 H&M? B4 was owed him -- you know what this is? This is
pS A. That's a part of comp time because 25 when they get -- this -s July, they all get

 

 

 

WINTER REPORTING, INC.

21
(212) 953-1414

(Pages 81 to 84)
Case 1:08-cv-03134-DLC Document 108-7

Filed 04/29/11 Page 36 of 67

 

 

Page 85

Cynthia Lewis

that. All correction officers get that once.
They get it twice a year. They get it July and
they get it I think December.

Q. And that's the part of the
collective bargaining agreement?

A. Correct, because they work on
holidays, that's what that premium is.

Oonwy dN OM & WN -b

Page 87

Cynthia Lewis
A. No, it's a gift from the city.

MR. RAND: I would like to mark
Plaintiffs’ Exhibit 3.

(Whereupon, electronic pay stub
for Warren Swain, was marked as
Plaintiffs' Exhibit 3 for
identification, as of this date.)

 

 

 

 

 

 

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8
9 Q. Then that shows up in the paycheck 9 Q. Do you recognize what has been
0 twice a year? 10 marked as Plaintiffs’ Exhibit 3?
1 A. Yes. 1 1 A. Again, the * ectronic pay stub.
2 Q. And ifa correction officer works i 2 Q. Do you know who these are pay
3 overtime during the period that he receives the 13 stubs for?
4 holiday premium, does his overtime rate reflect {1 4 A. Let me see. It looks like I
5 the holiday premium? 15 guess -- it's not saying the title of the
6 A. He gets time and a half, yes. 1.6 person. On these checks it doesn't give you a
7 Q. Is it higher than if he was not 17 title, so it's the same as the one you presented
8 working during a holiday premium period? 18 tome.
9 A. The reason why he wouldn't get 9 Q. Well it gives a name, correct?
PO more is because they already compensated him 2.0 A. Where is the name? Or Warren, I
21 whether he works or not, they receive that. It 21 ‘think, it's Swain, Warren.
22 doesn't matter. That's in their collective D2 Q. I think his name is actually
~3 bargaining. They get that money whether they 23 Warren Swain. I think Swain is his last name.
24 work it or don't work it. 24 Do you know whether the last name and the first
ee) Q. Okay. So if a correction 25 mame are listed on these pay stubs?
Page 86 Page 88
1 Cynthia Lewis 1 Cynthia Lewis
2 officer -- 2 A. Yes, I guess Washington, Immanuel,
3 A. So you'll be double compensating 3. yeah.
4 him. 4 Q. So Swain is his last name on this
5 Q. If acorrection officer works 5 pay stub?
6 overtime during a period in which he's paid the 6 A. I would sav.
7 holiday premium, is he paid at a higher rate -- 7 I mean I de1't know him but, you
8 A. No. 8 know...
9 Q. -- because of the holiday premium? 9 Q. Do you recognize these as being
0 Just wait 'ti] I finish my 10 the standard pay stubs?
1 question for the court reporter -- 11 A. Yes.
2 A. Okay. 12 Q. Do you see on Mr. Swain's pay
3 Q. -- and then answer. 13 stubs he also has negative numbers for comp
4 A, Okay, 14 time?
5 Q. I'm just trying to help her. 15 A. Yes.
6 A. Okay. 16 Q. Are these incorrect numbers?
7 Q. And once again, what is it when it 17 A. Yes.
8 says "service long ED"? 18 Q. Was this the standard problem for
) A. Longevity. That means they are 19 ali the correction officer's pay stubs during
QO compensated for longevity. Every city employee 20 this period?
1 gets longevity based on their -- like officers, P 1 A. Any city employee, not just
2 I believe it's the fifth or the sixth year and 22 officers, everybody.
3 for civilians it's the 15th year. P 3 Q. And the period that this problem
4 Q. And is that incorporated into the 24 occurred was before --
5 _ overtime rate that an officer receives? p5 A. CityTime.

 

WINTER REPORTING, INC.

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(Pages 85 to 88)
 

 

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Case 1:08-cv-03134-DLC Document 108-7 Filed 04/29/11 Page 37 of 67

 

EXHIBIT AA
Case 1:08-cv-03134-DLC Document 108-7 Filed 04/29/11 Page 38 of 67

CORRECTIONS TO DEPOSITION

Directions: As you read your deposition, if you have any corrections to make, please itemize
them below. Upon completion, follow the instructions in the cover letter.
Date of Deposition: February 28, 2011

Person Deposed: Cynthia Lewis

 

PAGE LINE EXPLANATION/CHANGE

 

31 24 Original Testimony: “Right, you just get the overtime.”

Corrected Testimony: “Right, you just get the overtime that
includes the night shift differential.”

Reason for Change: Clarify that the overtime calculation for a
Correction Officer is based on the rate paid for the tour to which
the overtime is attached.

 

32 : 4 Original Testimony: “No. Straight Pay.”
Corrected Testimony: “Yes.”

Reason for Change: After reviewing the collective bargaining
agreement covering Correction Officers, witness learned that
her Original Testimony was incorrect.

 

32 7-10 Original Testimony: “Correct, Correct. That’s for all city
employees. That’s a city — that’s a New York City personnel
thing, that has nothing to do with them being officers.”

Corrected Testimony: “No.”

Reason for Change: After reviewing the collective bargaining
agreement covering Correction Officers, witness learned that
her Original Testimony was incorrect.

 

 

 

 

 

-

       

4
Sworn to before me : OSES s. WILLIAMS 2 ‘
Commissioner of ae
_ 797K _dayo al. Ely of New vor: he ead “o
7 y ‘oe ricele ries Now No, - 42 _ “

OTARY PUBLIC

   

 
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EXHIBIT BB
Case 1:08-cv-03134-DLC Document 108-7 Filed 04/29/11 Page 40 of 67

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT NEW YORK

 

ERIC EDWARDS, Individually and on Behalf of All
Other Persons Similarly Situated,

Plaintiffs, AFFIDAVIT
-against-

THE DEPARTMENT OF CORRECTION OF THE
CITY OF NEW YORK and THE CITY OF NEW
YORK,

08 Civ. 3134 (DLC)

Defendants.

 

IRA KLEINBURD, being duly sworn deposes and says:

1. I have been employed by the New York City Department of Corrections
since 1979. I am currently Assistant Director of Personnel and have held this position since
approximately 2007. My duties and responsibilities include supervising the payroll, timekeeping
and auditing unit.

Dn This affidavit is based on my own personal knowledge and the books and
records of DOC. I submit this affidavit in support of defendant’s motion for Summary Judgment
and in opposition to plaintiffs’ Motion for Summary Judgment in the above-captioned action.

3. I was deposed in connection with this action on October 14, 2010 as a Rule
30(b)(6) witness regarding payroll procedures and this affidavit serves to supplement that
testimony.

4, I have been advised that plaintiffs claim that they are not paid the

applicable Night Shift Differential when they work overtime. This claim is incorrect.
Case 1:08-cv-03134-DLC Document 108-7 Filed 04/29/11 Page 41 of 67

5. The Payroll Management System (“PMS”) is the system the City of New
York uses to pay all of its employees, which includes plaintiffs.

6. DOC employees are paid on a bi-weekly basis.

7. The pay period is also referred to as the Regular Gross Period. The Regular
Gross Period begins on a Sunday and ends on a Saturday two weeks later. The paycheck covering
the Regular Gross Period is issued on the Friday following the end of the Regular Gross Period,
i.e. Saturday.

8. The actual payroll calculation process is referred to as Pay Calculation
(“Pay Calc”).

9. The second week of the Regular Gross Period is referred to as the
Anticipatory week because the City pays its employees their regular base salary for that week
even though the timekeepers do not have the timesheets for that week until after Pay Calc has
occurred. The City “anticipates” that its employees will work their regularly scheduled hours
during this week.

10. Timesheets for employees are submitted after the week it covers is over,
usually the Monday after the end of the previous workweek.

11. Pay Calc is performed at midnight on Saturday at the end of the Regular
Gross Period. The timesheets for the second work week (i.e. the Anticipatory week) of the
Regular Gross Period are received by timekeepers on or after the following Monday. If the
timesheets covering the Anticipatory week include overtime worked, it will then be included in
the very next Pay Calc processing and therefore included in their next pay check.

12. In short, overtime earned during week 1 of the Regular Gross Period will be

included in the paycheck covering that Regular Gross Period and overtime earned during week 2
Case 1:08-cv-03134-DLC Document 108-7 Filed 04/29/11 Page 42 of 67

(ie. the Anticipatory week) will be paid in the paycheck covering the following Regular Gross
Period.

13. Pursuant to the collective bargaining agreement in place between the City
of New York and the union representing Correction Officers, there is a 10% night shift differential
which is paid to Correction Officers assigned to tours of duty for all work actually performed
between the hours of 4:00 p.m. and 8:00 a.m., provided that more than one (1) hour is actually
worked after 4:00 p.m. and before 8:00 a.m.

14, Where overtime compensation is to be calculated for tours in a Correction
Officer’s regular duty chart, the overtime calculation is based on the rate paid for the tour to
which the overtime is attached.

15. By way of example, Test Plaintiff Michael Crivera’s regularly scheduled
tour is 11 p.m. to 7:31 a.m., i.e. the “midnight tour,” and therefore he receives a 10% night shift
differential in his regularly recurring salary.

16. When Test Plaintiff Crivera works hours in excess of his regularly
scheduled tour, his compensation for of the hours and minutes of overtime worked is calculated at
time and-one-half his rate of pay, which includes the 10% night shift differential.

17. This is evidenced by Test Plaintiff Crivera’s Pay Details Report, which is
annexed to the Declaration of Andrea O’Connor, dated April 29, 2011, as Exhibit HH.

18. In reading this Pay Detail Report, the column titled “Date Paid” represents
the date on which the paycheck covering this Regular Gross Period was issued. The column titled
“Earned Date” is the date on which the overtime pay was earned. The column titled “Event Type”
is the numeric code that corresponds to the column titled “Event Description.” The column titled

“Event Description” refers to the “positive” or “negative” exception that can either increase or
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decrease the correction officer’s gross salary. The payment of overtime is a “positive” exception.
The column titled “Amount” is the dollar amount paid in connection with the corresponding event
code/event description. The column titled “Hours” is the number of hours worked in connection
with the corresponding event code/event description. See Exhibit HH, Pay Details Report of
Michael Crivera.

19, The event code 1406 refers to the event description “OT Night,” i.e.
“Overtime Night,” which is used when a correction officer who is entitled to the 10% night shift
differential works overtime. Event code 1350 is the companion code to 1406 and refers to the
event description “OT NT COM CD,” ie. “Paid Overtime Night Rate Companion Code.”

20. By way of example, on July 3, 2008, Test Plaintiff Crivera worked 8 hours
of overtime in excess of his regularly scheduled midnight tour for which he was paid a total of
$168.16, ie. $159.39 (code 1406) plus $8.77 (code 1350), which is one and-one-half times Test
Plaintiff Crivera’s regular rate of pay, including the applicable night shift differential as specified

within the collective bargaining agreement covering correction officers.
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21. Therefore, as evidenced by the above-example utilizing Test Plaintiff
Crivera, when a Correction Officer, who is assigned a regular duty tour for which he is entitled to
the 10% night shift differential, works overtime, the oveyfine calculation is based on his rate of

pay that includes the applicable night shift differential.

  

Dated: New York, New York
April 26, 2011

DAVID G. PARNER

Swom to before me this ay of April, 2011 NOTARY PUBLIC, State of New York
(\ No. 4f-50031 7
: Qualified in Queens County. + r, |
Des ae (CC 2 pIWL Commission Expires “Go ao! T
Nojary Public

 
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EXHIBIT CC
Case 1:08-cv-03134-DLC Document 108-7 Filed 04/29/11 Page 46 of 67

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT NEW YORK

 

ERIC EDWARDS, Individually and on Behalf of All
Other Persons Similarly Situated,

Plaintiffs, AFFIDAVIT
-against-

THE DEPARTMENT OF CORRECTION OF THE

. 3134 (DLC
CITY OF NEW YORK and THE CITY OF NEW oo Po)
YORK,

Defendants.

 

x

CYNTHIA LEWIS, being duly sworn deposes and says:

l, I have been employed by the New York City Department of Corrections
since 1984, I am currently Supervisor of Personnel at Anna K. Marie Kross facility and have held
this position since 2008 and have served in a supervisory capacity in DOC’s personnel office for
22 years. My duties and responsibilities include supervising payroll, timekeeping and scheduling
for uniformed members of service.

2. This affidavit is based on my own personal knowledge and the books and
records of DOC. I submit this affidavit in support of defendant’s motion for Summary Judgment
in the above-captioned action.

3. I was deposed in connection with this action on February 28, 2011 as Rule
30(b)(6) witness regarding timekeeping procedures and this affidavit serves to supplement that
testimony.

4, During my deposition on February 28, 2011, I was asked a series of

questions regarding the 10% night shift differential paid to Correction Officers.
Case 1:08-cv-03134-DLC Document 108-7 Filed 04/29/11 Page 47 of 67

> That testimony is as follows:

Q: And what if you’re normally doing a
midnight shift and you do overtime during a day
shift?

A: Correct. If you come in on the midnight you
will compensated for the midnight rate of the
midnight, yes. Then you would get your normal
overtime in the day, correct. They do change tours.

Q: What I’m saying is, you get a premium
hourly rate for working a midnight tour?

A: Correct.

Q: And if after your midnight tour you do a
double shift and work a day tour - -

A: Right, you just get the overtime.

Q: So that overtime would be a time and a half
your normal premium midnight tour rate?

A: No. Straight pay.

Q: It would be time and a half the regular day
rate?

A: Correct, correct. That’s for all city
employees. That’s a city - - that’s a New York City

personnel thing, that has nothing to do with them
being officers.

6. However, at the time of my deposition, I did not know if the 10% night
shift differential was included in the calculation of overtime pay when an officer, who is assigned
a tour to which the differential attaches, works overtime and therefore should not have answered
the above-quoted questions as I did.

7. After reviewing the transcript of my deposition, I consulted the collective
bargaining agreement that is applicable to DOC Correction Officers and, after reviewing the

agreement, ] learned that where overtime compensation is to be calculated for tours in a
Case 1:08-cv-03134-DLC Document 108-7 Filed 04/29/11 Page 48 of 67

Correction Officer’s regular duty chart, the overtime calculation is based on the rate paid for the

tour to which the overtime is attached.

8. Therefore, when a Correction Officer who is assigned a regular duty tour

for which he is entitled to the 10% night shift differential works overtime, the overtime

calculation is based on his rate of pay which includes the 10% night shift differential.

9. In an effort to correct my testimony, on April 18, 2011 I executed an errata

sheet which corrected the errors I made in my testimony. That errata sheet is annexed hereto as

Appendix A.

Dated: New York, New York
April 28, 2011

MOSES s. WILLIAMS
Clty of New Issioner of Deeds
Certificate Filed In Evie 212722

Commission Expites Jue “fp

Sworn to before me this 28 day of April, 2011

Mad _

Notary Pyblic ©

CO Tih,

(// CYNTHIA LEWIS
Case 1:08-cv-03134-DLC Document 108-7 Filed 04/29/11 Page 49 of 67

EXHIBIT DD
Case 1:08-cv-03134-DLC Document 108-7 Filed 04/29/11 Page 50 of 67

LAW OFFICE OF WILLIAM COUDERT RAND
228 East 45" Street, 17" Floor
New York, New York 10017
(Phone) 212-286-1425; (Fax) 646-688-3078
email: wcrand@wcrand.com

BY HAND
March 18, 2011

Andrea O’Connor, Esq.

The City of New York Law Department
Labor and Employment Law Division
100 Church Street

New York, N.Y. 10007

Tel.: (212) 788-0879

ENCLOSURE OF DEPOSITION TRANSCRIPTS FOR REVIEW AND SIGNING
Re: Edwards et al. v. City of New York, 2008 Civ. 3134, (DLC) (GWG)
Dear Andrea:
I am hereby enclosing the transcripts of the deposition of Cynthia Lewis taken on

February 28, 2011. Please have your client review the transcript, if necessary fill out an errata
sheet, and then sign the transcripts before a notary and return it to me within 30 days pursuant to

Rule 30 of the Federal Rules of Civil Procedure.
ee MH / 4]

William C. Rand

Enc.
   

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EXHIBIT EE
Case 1:08-cv-03134-DLC Document 108-7 Filed 04/29/11 Page 52 of 67

THE NEW YORK CITY LAW DEPARTMENT
WORK REQUEST

 

   

MESSENGER'S TIME/DATE STAMP
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SPECIAL INSTRUCTIONS:

 

 

 

 

 

 

 

 

 

 

 

 

 

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Signature:

 

 
 

   

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EXHIBIT FF
Case 1:08-cv-03134-DLC Document 108-7 Filed 04/29/11 Page 54 of 67

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30 31 = Monday, January 17th
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1 2 3 MGR 5. [| Saturday, February 12th | 1 2 3 4 pe.
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EXHIBIT GG
Case 1:08-cv-03134-DLC Document 108-7 Filed 04/29/11 Page 56 of 67

 

THE CITY OF NEW YORK
OFFICE OF THE MAYOR
NEW YORK. N.Y, 10007

STANLEY SREZENOFF
Firat Deputy Mayor

ADMINISTRATIVE ORDER

TO: Agency Heads and Administrative Heads
Of All Covered Organizations
FROM: Stanley Brezenoff, First Deputy nayor WS
RE: COMPLIANCE WITH FEDERAL OVERTIME LAWS ‘
DATE: March 17, 1986 ©

ee ee de ee ee

This Order shall be an interim Order covering important
provisions of the Fair Labor Standards Act ("FLSA") and
implementing preliminary changes in the City's overtime procedures

and practices,

The 1974 Amendments to the FLSA for the first time fully

included public employers within the purview of the Act; however,
the constitutionality of the law was challenged and in the National

League of Cities v. Usury, the U.S. Supreme Court struck down the

application of the law to state and local governments. In
February, 1985, the Supreme Court reversed its position and in San

Antonio Metropolitan Transit Authority v. Garcia found that the
application to state and local governments was constitutional.
Congress subsequently enacted the 1985 Amendments to the FLSA which
require the City to comply with the Act as of April 15, 1986. A
copy of the 1985 Amendments is attached hereto as Appendix A.

Under the Act, employees are categorized as covered (nonexempt) or

not covered (exempt).

~
Case 1:08-cv-03134-DLC Document 108-7 Filed 04/29/11 Page 57 of 67

.A Citywide FLSA Task Force consisting of the Director of the
Office of Municipal Labor Relations, the Corporation Counsel, the
city Personnel Director, the Director of Operations and the Budget
Director has reviewed, evaluated and made recommendations to the
Mayor on questions of policy regarding this Order. Additionally,

an FLSA Unit has been established at OMLR to coordinate
implementation and compliance with the Act and this Order.

Each agency shall have an FLSA Coordinator who is responsible,
along with the Agency Head, for all record keeping, implementation
and compliance with the FLSA and this Order. The Coordinators
Will be working closely with the FLSA Unit of OMLR and the

Citywide Task Force,

Requests for further information should be directed to the
FLSA Unit of the Office of Municipal Labor Relations, at (212)

618-8266 or (212) 618-8403.
COMPLIANCE ACTIONS

To achieve compliance with the FLSA the following steps shall
be taken immediately.

_ First, effective immediately, all voluntary and involuntary
overtime which requires an employee to work beyond forty (40)
hours in any City established 7 day work period shall be
eliminated for all employees covered by the Fair Labor Standards
Act unless such work is (1) an emergency relating to the
protection of life, limb or property of the citizens of New York,
(2) of significant fiscal impact on the City, or (3) is otherwise
authorized pursuant to the terms of this Order. (This does not
apply to employees who are not eligible for overtime under the
Act, collective bargaining agreement or other pertinent City

directives).

Directives to work overtime must be issued pursuant to the

terms of Executive Order B82 (July 26, 1973), Section 7(4),
Executive Order 56 (April 2, 1976), Personnel Order 78/12 (January

13, 1978) and Mayoral Directive 78/12 (May 9, 1978) which require
written authorization by the Agency Head or person(s) designated
in writing by the Agency Head. Copies of these are attached as

Appendix B.

Note; The City's current methodology for calculating overtime
is different from the FLSA formula. The overtime ("regular")
rate, as required by the Act, must include such benefits as night
shift differential, holiday pay, on-call pay, and under certain
Case 1:08-cv-03134-DLC Document 108-7 Filed 04/29/11 Page 58 of 67

-3-

circumstances traveling expenses, etc. The inclusion of these
additional items will obviously increase the City's overtime cost
as the current Citywide formula does not include all of the above
benefits as part of the base pay on which the overtime rate is

calculated.

Second, pursuant to the Act once overtime is performed by -
nonexempt (covered) employees, compensatory time should be granted
under the following circumstances:

I. FOR CIVILIAN EMPLOYEES NOT PERFORMING FIRE PROTECTION AND LAW
ENFORCEMENT FUNCTIONS.

A. Up to 40 hours worked in an established 7 day period in
accordance with the appropriate collective bargaining
agreement or other pertinent City directive,

B. In excess of 40 hours actually worked in a‘City-
established 7 day work period in accordance with the
appropriate collective bargaining ayreement or other
pertinent City directive at the rate of time and one-half
for hours actually worked. Note, the FLSA permits the
accrual of compensatory time up to 240 hours (160 hours
of overtime at time and one half equals the 240 hour
cap). This cap is a rolling cap which begins on April
15, 1986 and is maintained during the term of an
individual employee's employment.

Such compensatory time is only allowed by the FLSA if
such benefit is provided by collective bargaining
agreement, memorandum of understanding, other agreement
between the City and a certified bargaining unit, or any
prior understanding or agreement in place prior to the
performance of the overtime performed,

II, FOR EMPLOYEES PERFORMING FIRE PROTECTION AND LAW ENFORCEMENT
FUNCTIONS.

A. Up to 171 hours for uniforned police and correction
personnel and 212 hours for uniformed fire protection
personnel in an established 28 calendar day period. Such
overtime compensation must be made in accordance with the
appropriate collective bargaining agreement, or other

City directive.
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B. Overtime in excess of 171 hours actually worked for
uniformed police and correction personnel and 212 hours
actually worked for uniformed fire protection personnel in
an established 28 day period. When such overtime is
performed it must be paid in accordance with the
appropriate collective bargaining agreement or other City
directive at the rate of time and one half for hours
performed. Note, the FLSA permits compensatory time up to
480 hours (320 hours at time and one-half equals the 480
hour cap). This cap is a rolling cap which begins April
15, 1986 and is maintained during the term of employment.

Such compensatory time is allowed by the FLSA if such
benefit is provided by collective bargaining agreement,
memorandum of understanding, other agreement between the
City and a certified bargaining unit, or any prior
understanding or agreement in place prior to the
performance of the overtime.

The 28 day calendar period for police, correction and fire
protection personnel will commence on April 15, 1986.

Agency Heads and their FLSA Coordinators should be aware that
the threshold for overtime payments under the FLSA is 40 hours of
actual work in a City established 7 day period. The Citywide
Agreement, as well as other collective bargaining agreements, uses
time in pay status (i.e., paid sick leave and annual leave) to
calculate overtime rather than hours actually worked.

Third, Agency Heads and their FLSA Coordinators will take
measures to see that employees are properly classified as exempt
(noncovered) or nonexempt (covered) under the terms of the FLSA as
outlined in this Order. Attached as Appendix C is a partial list
of job titles and classifications which are generally covered by
the FLSA and for which overtime pay must be given for hours worked
in excess of 40 hours of actual work in a City established 7 day
work week. Also attached is Appendix D, a partial list of job
titles and classifications which are generally exempt (noncovered)
from the FLSA. There will be further additions and/or deletions

to these lists of which you will be notified.
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Fourth, working time of nonexempt (covered) employees must be
carefully scheduled and monitored to avoid unpaid overtime claims.
Nonexempt employees may not start work before the workday commences
Or continue work after the workday has terminated. Agency Heads
and their FLSA Coordinators must ensure that each nonexempt
(covered) employee records his starting time at the beginning of
the scheduled work day and at the authorized finishing time.
Clerical staff must be given at least one-half hour for lunch or
meal period, or a longer period if required by competent authority
(e.g. collective bargaining agreement), uninterrupted by job duties
and should be encouraged to leave their work stations to avoid
incidental work such as answering telephones, Employees directed
to work during their lunch period must be so authorized in writing
by the Agency Head or a representative of the Agency Head who has
been delegated authority in writing by the Agency Head. A copy of
a model Lunch or Meal Period Work Authorization form is attached
hereto as Appendix E. Working time should be examined in
accordance with the rules set forth in this Order to minimize

unnecessary liability.

Pifth, there is an agency responsibility to keep adequate
records on wages, hours, sex, occupation and other terms and
conditions of employment. The following information must be

maintained for covered employees:

Name, home address, and birth date for employees
under 19 years of age;

Social Security Number;
Sex and occupation;
Hour and day work period begins;

Regular hourly rate for any week when overtime is
worked;

Total daily or weekly straight time earnings;
Total overtime pay for the workweek;
Deductions or additions to wages;

Total wages paid each pay period; and

Date of payment and pay period covered.
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All records must be maintained for at least a three (3) year
period.

Sixth, the creation of three different compensatory time banks
must be established: 1) all pre-FLSA prior to April 15, 1986
compensatory time; 2) post-April 14, 1986 non-FLSA compensatory
time earned under 40 hours of time actually worked per week; and 3)
post-April 14, 1986 FLSA compensatory time earned after 40 hours of
time actually worked per week. This will be necessary to implement
the Act and will also enable the City to control the granting of
compensatory time and overtime costs associated therewith by
isolating the more expensive post~April 14, 1986 FLSA overtime.

For cost control purposes, a bank of cash overtime paid pursuant to
the Act will also be maintained.

EXEMPT, NONEXEMPT, AND NONCOVERED EMPLOYEES

The following guidelines are to be applied to determine the
exempt (noncovered) or nonexempt covered status of employees under
the FLSA. Employees who are not exempt under the following
guidelines are covered by the Act.

The FLSA generally requires overtime payment for all time
worked in excess of 40 hours in a City established 7 day period for
nonexempt employees covered by the Act. Special rules outlined on
page 3 hereto exist for law enforcement and fire protection

personnel.

The following categories of workers are not covered by the FLSA.
and the City may maintain its current overtime practices:

elected officials

personal staff of elected officials who
have daily contact with such officials

appointees of elected officials who
serve on a policy-making level and have
immediate and personal contact with such

officials (i.e., Deputy Mayor,
Commissioner, etc.)

counsel to elected officials

bona fide volunteers

independent contractors
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Other categories of employees who are exempt from the overtime
provisions under the FLSA include:

. professional employees: 1) paid $250 or
more per week on a salary basis; primarily
performs work requiring advanced learning or
work as a teacher in an activity of
imparting knowledge, which requires the
consistent exercise of discretion and
judgment; or 2) artistic work that requires
invention, imagination, or talent ina
recognized field of artistic endeavor

administrative employees: paid $250 or more
per week on a Salary basis; 1) performs
responsible office or nonmanual work
directly related to management policies or
general business operations or responsible
work that is directly related to academic
instruction or training carried on in the
administration of a school system or
educational establishment and such primary
duty includes work requiring the exercise of
discretion and independent judgment

. executive employees: 1) paid $250 or more
per week on a Salary basis; 2) duties
primarily involve management of the agency
or subdivision; 3} employee regularly
directs the work of at least two or more
employees

recreational employees: who are employed by
a recreational establishment which does’ not
Operate for more than seven months ina
calendar year or which has average receipts
for any six month of the year not more than
33 1/3% of the average receipts for the
remaining six months. (This potentially
includes municipal stadiums, amusement
parks, tennis courts, golf courses, parks,
gymnasiums, outdoor swimming pools, Zoos,
museums, camps, beaches, and other seasonal

recreational programs).

. Other questions; Consult with the FLSA Unit
at OMLR. See 29 CFR Part 541 attached
hereto as Appendix F for the basic
definitions for the exemptions.
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For exempt (or noncovered) employees, the City is free to
continue its present overtime and compensatory time policies.
Consequently, all exempt (or noncovered) employees shall not be
subject to the overtime provisions of this Order, but may be
subject to the relevant overtime provisions in collective
bargaining agreements and the like.

Agency Heads and the agency FLSA coordinators, in conjunction
with OMLR and the Citywide Task Force, will be responsible for
ensuring that individual worker's job duties are examined to
determine whether he or she is an exempt or covered worker.
Employees in the executive and managerial pay plans are exenpt as
are other professional, supervisory and administrative employees,
However, the mere label or the personnel description attached toa
job title does not make the employee exempt. Application of the
exemption depends on the actual job duties of the worker.

Any questions regarding these exemptions should be directed to
the FLSA Unit at OMLR. A final determination will be made by OMLR
in consultation with the Citywide FLSA Task Force.

WORKING TIME

Employees must be paid at least the minimum wage of $3.35 an
hour €or all hours worked. Unless otherwise specified by the
appropriate agency head, effective April 15, 1986, the work week
for all employees, except fire protection and law enforcement
personnel, is defined as the seven calendar days beginning at 12:00
Midnight Sunday and ending 12:00 Midnight the following Sunday (168
hour work week). Any deviation from this work week must be

reported immediately to the FLSA Unit at OMLR.

Overtime compensation at time and one-half for all hours
actually worked in excess of 40 hours in a City established 7 day
work week is generally required for all covered, nonexempt
employees (note, there are special rules for law enforcement and
fire protection personnel). Overtime pay is not required when
employees work more than 8 hours a day; it is only required when

they actually work more than 4C hours in a City established 7 day
week unless covered by a collective bargaining agreement or other
pertinent City directive which provides a greater benefit.

It is the duty of management to exercise strict control of its
employees and to see that work is not performed if management does
not wish that it be performed. The mere promulgation of a rule
against unauthorized work will not be sufficient. It is incumbent
upon the Agency head and the agency FLSA Coordinator to ensure
enforcement of the rule. The following aiscussion will help you
determine what constitutes working time which.requires payment of

wages.
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a. Waiting Time

Employees must be compensated for all waiting time while on
duty unless (1) the employee is completely relieved from duty and
allowed to leave the job, or (2) the employee is relieved. until a
definite specified time and the period is long enough for the
employee to use as he or she sees fit.

b. On-Call or Standby Time

If employees must remain on the employer's premises or so near
that they cannot use the time freely, this may be compensable
working time. Time for those employees who can come and go,
although required to leave a telephone number, usually would not be
compensable work time. Employees whose work requires them to be
regularly on-call or on standby should be provided with beeper
equipment at City expense to avoid liability.

c. Rest Periods

Rest periods are counted as compensable working time if they
last 20-minutes or less. Thus, coffee breaks and snack times are
compensable. Rest periods in excess of 20 minutes may or may not
be compensable depending on the freedom of employees to use the

time as they please.

d. Meal Time

Meal times are compensable unless they: (1) generally are at
‘least 30 minutes long; and (2) the employees are relieved of all
duties including answering the telephone; and (3) employees are
free to leave their duty posts. Meal periods of guards,
firefighters, police, and other public safety employees on call
more than 24 consecutive hours is working time unless excluded by
express or implied agreement. Note, uniformed police, fire and
correction personnel are already provided with a paid meal period
as part of their work day. Henceforth, all employees except
uniformed police, fire and correction personnel shall be encouraged
to leave their work stations, and perform no work tasks during
lunch time, Assigned lunch or meal periods for each employee
should be conspicuously posted in the work location and adhered to
strictly. Work during the assigned lunch or meal period must be
authorized in accordance with the provisions of this Order.

e, Sleeping Time

If an employee's tour of duty is less than 24 hours, then the
time he or she is allowed to sleep as part of that tour is still
working time. If the tour of duty is 24 hours or longer, then
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under some circumstances up to 8 hours may be excluded from
compensable working time if the enployee is allowed to sleep.
enforcement and fire protection personnel must work shifts in
excess of 24 hours before sleep time can be excluded from

compensable time.

£. Training Time

No compensation is required for employees who attend training
programs and lectures if attendance is outside regular working
hours; and attendance is voluntary; and an employee does no
productive work while attending; and the program is not directly
related to the employee's job. In addition, no compensation
accrues to trainees who are not already employees. Such trainees
are not covered by the FLSA when they get vocational training for
their own benefit, do not displace regular employees, the employer
receives no immediate advantage, no wages are paid, and no job

entitlement has vested.

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g. Travel Time

Whether travel time is compansable depends entirely on the kind
of travel involved, The City generally is not responsible for time
spent by the employee in walking, riding, or otherwise traveling to

his or her principal activity.

, As a general rule, home-to-work travel is not compensable, even
if an employee must travel from a town to an outlying site to get
to the employer's premise. Generally, an employee is not at work
until he or she reaches the work site. But if an employee is
required to report to a meeting place where he or she is to pick up

materials, equipment, or other employees, or to receive
instructions, compensable time starts at the time of the meeting.

Traveling by an employee from one job site to another site
during the workday is compensable work. ‘fraveling from an outlying
job at the end of the scheduled workday to the employer's premises

is compensable.
Out-of-Town Travel

An employee who is sent out of town for one day need not be
paid for time spent in traveling from his or her home to the local
railroad, bus depot, or plane terminal, but he or she must be paid
for all other travel time (except any time spent in eating while
traveling). Employees who drive overnight are considered working

all the time they are driving.
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Where employees travel overnight on business [i.e., for more
than one day), they must be paid for time spent in traveling
(except for meal periods) during their normal working hours on
their non-working days, such as Saturday, Sunday, and holidays, as
well as on their regular working days. Travel time as a passenger
on an airplane, train, boat, bus, or automobile outside of regular
working hours is not considered worktime. Nighttime travel
policies, with employees traveling in the evening, may prove to be
more advantageous. Any actual work the employee does while
traveling, however, remains worktime, Moreover, if an employee
drives his or her car without being offered public conveyance,
then this travel time is considered working time.

Employees are not entitled to compensation for home-to-work
travel merely because their employer furnishes their
transportation. An employee who chauffeurs other employees to
work at the direction of his or her employer, however, is entitled
to compensation. An employee who uses a government car is working
While driving on business, but not while going to and from home.

h. Starting and Quitting Time

Employees should be officially notified of the specific time
prior to which they may not start work each day, and of the
departure time beyond which they shall not be permitted to work,
Employees must sign in and out and such records must be accurately
maintained for at least three years. Preliminary (pre-workaay)
and postliminary (or post-workday) activities may be compensable
and should be avoided wherever possible. Assignment o£ work to be
done at home is to be avoided as time for such work is considered
as working time and is subject to the overtime provisions of the

Act.

i. Compensatory Time

Any employee who has accrued FLSA compensatory time shall be

permitted, by the agency to use such time within a reasonable
period. However, the use of such compensatory time may be denied

if its use unduly disrupts the operations of the agency.
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An employee who has accrued FLSA compensatory time shall upon

termination or separation of employment, be paid for the unused
compensatory time at a rate of compensation not less than:

A) the average regular rate received by such
employee during the last 3 years of the
employee's employment; or

B) the final regular rate received by such
employee, whichever is higher.

Agency Heads and their FLSA Coordinators shall regularly monitor

the amount of FLSA compensatory time for each non exempt (covered)
employee. Once an employee has reached the 240 hours or 480 hours
(uniformed police, correction fire personnel) compensatory tine
rolling cap, cash overtime must be paid. Therefore, overtime should
not be assigned to non exempt employees that have reached the FLSA

compensatory time cap,

The Agency Head and or their FLSA Coordinators shall direct that
accrued FLSA compensatory time be used prior to any other accrued

compensatory time.
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The Agency Head retains his authority to direct an employee to
use compensatory time within the guidelines of the pertinent
collective bargaining agreement or other City directives.

j. Alternative Work Schedules

Alternative work schedules that provide for 40 hours or less of

work in the City established 7 day work week may be continued as
they do not conflict with the Act. Alternative work schedules that

provide for more than 40 hours of work in the 7 day City established
work week may not be continued without the approval of the FLSA Unit
of OMLR and the Citywide FLSA Task Force.
